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 13
 14                      UNITED STATES DISTRICT COURT
 15                    CENTRAL DISTRICT OF CALIFORNIA
 16
 17 UNITED STATES et al.,                   CASE NO. 5:06-cv-00055-GW-PJW
 18             Plaintiffs,                 J-M MANUFACTURING
                                            COMPANY, INC.’S RENEWED
 19       vs.                               MOTION FOR JUDGMENT AS A
                                            MATTER OF LAW
 20 J-M MANUFACTURING COMPANY,
    INC. dba JM EAGLE et al.,               Filed concurrently with Declaration of
 21                                         Neil P. Kelly
               Defendants.
 22                                         Date: January 17, 2019
                                            Time: 9:30 a.m.
 23                                         Ctrm.: 9D
 24                                         Assigned to Hon. George H. Wu,
                                            Courtroom 9D
 25
 26
 27
 28

                  J-M’S RENEWED MOTION FOR JUDGMENT AS A MATTER OF LAW
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  1                        NOTICE OF MOTION AND MOTION
  2 TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
  3         PLEASE TAKE NOTICE that Defendant J-M Manufacturing Company, Inc.
  4 (“J-M”) will and hereby does renew its motion for judgment as a matter of law
  5 pursuant to Federal Rules of Civil Procedure 50(b) on all claims for damages
  6 asserted by plaintiffs City of Reno, Nevada (“Reno”), City of Norfolk, Virginia
  7 (“Norfolk”), Calleguas Municipal Water District (“Calleguas”), Palmdale Water
  8 District (“Palmdale”) and South Tahoe Public Utility District (“South Tahoe”)
  9 (collectively, “Plaintiffs”) in this Phase 2 trial. (See Dkt. 2729, Dkt. 2738.)
 10         This motion is made on the grounds that the damages theory Plaintiffs
 11 presented during the Phase 2 trial—that Plaintiffs suffered damages because the pipe
 12 they received will fail earlier than the pipe they bargained for—fails as a matter of
 13 law because (1) the bargain on which damages must be predicated was set forth in
 14 written documents and the evidence at trial conclusively established that those
 15 written documents did not impose a longevity requirement; (2) the Phase 1 jury did
 16 not decide any longevity requirement; and (3) Plaintiffs failed to present legally
 17 sufficient evidence to support this damages theory. The motion is also made on the
 18 grounds that the damages claim Plaintiffs made in closing—for the cost of replacing
 19 all pipe in all of the projects today—fails as a matter of law because (1) the Court
 20 ruled such a claim could not be made absent risk of imminent failure or a threat to
 21 public health, evidence of which Plaintiffs failed to present (and, in fact, presented
 22 evidence that the risk of failure was not imminent); and (2) Plaintiffs explicitly
 23 abandoned their claim for the cost of replacement of all pipe before trial.1 Finally,
 24 this motion is made on the grounds that Plaintiffs have made multiple, improper
 25
      1
       The Court previously denied without prejudice J-M’s motion for judgment as a
 26 matter of law. Ex. 1, Trial Tr. 8015:21–25. This motion does not address the issue
 27 of civil penalties, on which the parties agree the Court should defer decision until
    resolving the present motion. Dkt. 2807.
 28

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  1 changes to their legal and factual theories of the case, and must be precluded from
  2 prolonging this litigation any further.
  3        This motion is based on this notice, the attached Memorandum of Points and
  4 Authorities, the Declaration of Neil P. Kelly, the pleadings, records, and files in this
  5 case, and such other matters that may be raised at the hearing.
  6 DATED: December 12, 2018              PAUL, WEISS, RIFKIND, WHARTON
                                          & GARRISON LLP
  7
  8                                       By:          /s/ David Bernick
                                                             David Bernick
  9
 10
 11 DATED: December 12, 2018              BIRD, MARELLA, BOXER, WOLPERT,
 12                                       NESSIM, DROOKS, LINCENBERG &
                                          RHOW, P.C.
 13
                                          By:             /s/ Paul S. Chan
 14
                                                                Paul S. Chan
 15
 16                                                  Attorneys for Defendant
                                                     J-M Manufacturing Company, Inc.
 17                                                  dba JM Eagle
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  1                 MEMORANDUM OF POINTS AND AUTHORITIES
  2 I.      INTRODUCTION
  3         After eight years of litigation, the parties have explored every potentially
  4 relevant fact, briefed, re-briefed, and argued every imaginable legal issue, and tried
  5 every relevant issue before two juries. Throughout, Plaintiffs have been given the
  6 latitude to explore every possible legal and factual theory they could dream of. At
  7 the same time, they have been permitted to take advantage of the Phase 1 verdict,
  8 despite that fact that it resulted from a Phase 1 trial that the Court has accurately
  9 described as a “train wreck.” The table is now set for the Court to rule on the legal
 10 sufficiency of Plaintiffs’ case. J-M has repeatedly asked for such a ruling, and
 11 having been given every privilege that they have asked for, Plaintiffs have finally
 12 joined in the same request.
 13         This brief respectfully requests three things.
 14         The first request is for the Court to enter judgment in J-M’s favor as a matter
 15 of law on the damages theory that Plaintiffs presented at the five-week trial that
 16 recently concluded. That theory was that Plaintiffs suffered damages because the
 17 pipe they received will fail earlier than the pipe they bargained for. That theory fails
 18 as a matter of law because the bargain on which damages must be predicated was set
 19 out in written specifications, which called for compliance with certain standards, but
 20 those standards disclaimed, rather than imposed, any requirement for pipe longevity.
 21 Plaintiffs’ theory also fails as a matter of law because the Phase 1 jury did not
 22 decide whether J-M falsely represented compliance with any longevity requirement.
 23         The Court must also enter judgment as a matter of law based upon Plaintiffs’
 24 failure of proof at trial. Plaintiffs failed to present sufficient proof of: (1) the
 25 predicted times and costs of failure and replacement, which were presented solely
 26 by Mr. Lehmann; (2) the longevity of compliant pipe, J-M pipe manufactured from
 27 1996–2006, and Plaintiffs’ pipe at issue; or (3) the mathematical relationship of
 28 three short-term tests with long-term strength and longevity, upon which both the

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  1 fact of lost value and all of Plaintiffs’ damages calculations completely depended.
  2 Nor did Plaintiffs even attempt to bear their burden of proving the difference
  3 between the value they were promised and the benefits they unquestionably have
  4 received.
  5            The second request is for the Court to enter judgment as a matter of law on
  6 the damages claim Plaintiffs chose to make in closing, in violation of the Court’s
  7 instructions, the Court’s clear rulings, the basic rules of trial procedure, and the
  8 bedrock principles of due process. Plaintiffs’ closing claim was for the cost of
  9 replacement pipe for all pipe in all of the projects today. The Court ruled before trial
 10 that such a claim could not be made absent risk of imminent failure or a threat to
 11 public health. Plaintiffs responded by expressly abandoning any such claim, and
 12 their evidence at trial was that no such replacement was necessary because pipe was
 13 not expected to fail for some time into the future. This is reflected in the jury
 14 instructions Plaintiffs proposed and the Court provided. Plaintiffs urged the jury in
 15 closing to simply ignore all of this.
 16            The third request is embedded in the first two, but based on an additional
 17 ground. That request is to preclude Plaintiffs from continuing this case. This case is
 18 exceptional in light of Plaintiffs’ multiple, unilateral, and uniformly improper
 19 decisions to change their legal and factual theories of the case. With the end of the
 20 evidence and trials, the Court must put an end to Plaintiffs’ inappropriate tactics.
 21 II.        JUDGMENT AS A MATTER OF LAW CAN BE ENTERED
 22            FOLLOWING A MISTRIAL
 23            Under Federal Rule of Civil Procedure 50, a party may renew its motion for
 24 judgment as a matter of law after a mistrial and discharge of the jury.2 “The same
 25 standard applies to a motion for judgment as a matter of law made after a mistrial
 26
 27
      2
          Fed. R. Civ. P. 50(b).
 28

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  1 because of jury deadlock.”3 The standard for judgment as a matter of law after a
  2 mistrial is “no stricter than after a jury verdict.”4 Judgment as a matter of law
  3 “should be entered notwithstanding the jury’s failure to reach a verdict if insufficient
  4 evidence was presented to support a verdict for the nonmoving party.”5
  5             Judgment as a matter of law is warranted where, as here, “a party has been
  6 fully heard on an issue and there is no legally sufficient evidentiary basis for a
  7 reasonable jury to find for the party on that issue.”6 Rule 50 “allows a court to
  8 remove . . . claims, defenses, or entire cases . . . from the jury” where the evidence
  9 cannot “support a particular outcome.”7 In particular, judgment as a matter of law
 10 should be granted when the “evidence contains no proof beyond speculation to
 11 support a verdict.”8
 12 III.        THE COURT SHOULD ENTER JUDGMENT FOR J-M BECAUSE
 13             PLAINTIFFS’ LONGEVITY THEORY OF DAMAGES WAS
 14             DEFECTIVE AS A MATTER OF LAW AND LACKED A
 15             SUFFICIENT EVIDENTIARY BASIS AT TRIAL
 16             A.    Plaintiffs Must Be Held to the Damages Theory They Chose To Try
 17             Plaintiffs are legally bound by their strategic decisions before and during
 18   3
      Rodriguez v. Cnty. of Stanislaus, 799 F. Supp. 2d 1131, 1139 (E.D. Cal. 2011)
 19 (citing Headwaters Forest Def. v. Cnty. of Humboldt, 240 F.3d 1185, 1197 (9th Cir.
    2000), cert. granted and vacated on other grounds by 534 U.S. 801 (2001)).
 20 4
      Ultimax Cement Mfg. Corp. v. CTS Cement Mfg. Corp., 856 F. Supp. 2d 1136,
 21 1142 (C.D. Cal. 2012).
 22 5 PPM America, Inc. v. Marriott Corp., 875 F. Supp. 289, 293 (D. Md. 1995)
 23 (citations omitted).
      6
       Summers v. Delta Air Lines, Inc., 508 F.3d 923, 926 (9th Cir. 2007) (quoting Fed.
 24
      R. Civ. P. 50(a)).
 25   7
          Id.
 26   8
     See, e.g., Jones v. City of Oakland, No. 11-cv-4725 (YGR), 2013 WL 1333933,
 27 at *2 (N.D. Cal. March 29, 2013) (citing First Union Nat. Bank v. Benham, 423 F.3d
    855, 863 (8th Cir. 2005)).
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  1 trial.9 Whether grounded in the principles of waiver, fundamental due
  2 process/fairness to the parties, or judicial estoppel, the courts have been clear that a
  3 party cannot abandon legal theories to try to obtain a strategic advantage only to
  4 revive those theories after the theories the party chose to pursue instead failed. As
  5 the Federal Circuit has said (reciting established law): “When a plaintiff
  6 deliberately takes a risk by relying at trial exclusively on a damages theory that
  7 ultimately proves unsuccessful . . . a district court does not abuse its discretion by
  8 declining to give that plaintiff multiple chances to correct deficiencies in its
  9 arguments or the record.”10 In Promega, after a finding of patent infringement was
 10 made, the plaintiff disclaimed any demand for royalties, seeking only damages in
 11 the form of lost profits, arguing: “Royalties? Don’t want them. Wouldn’t have
 12 taken them. Don’t expect them.”11 The district court and Federal Circuit on appeal
 13 both found that the plaintiff had thus “expressly waived its right to any award based
 14 on a reasonable royalty,” and entered judgment as a matter of law when the plaintiff
 15 could not sustain the one damages theory it pursued at trial.12
 16         Similarly, in a retrial limited to the issue of damages, the court in Total
 17 Containment, Inc. v. Dayco Products, Inc. precluded the plaintiff from proffering
 18 “new theories after making a tactical decision not to do so at the prior trial,” based
 19 on concerns of fairness to the parties.13 Specifically, to avoid “potential unfairness
 20 and prejudice to the parties,” the court precluded plaintiff from “introduc[ing]
 21   9
      United States v. Brooke, 4 F.3d 1480, 1485 n.6 (9th Cir. 1993) (“Like all litigants,
 22 the government must accept the consequences of its strategic decisions.”).
    10
 23    Promega Corp. v. Life Tech. Corp., 875 F.3d 651, 666 (Fed. Cir. 2017) (emphasis
    added).
 24 11
        Id. at 660.
 25 12 Id.
 26   13
      177 F. Supp. 2d 332, 338–39 (E.D. Pa. 2001); see id (citing Rochez Bros. v.
 27 Rhoades, 527 F.2d 891, 894 (3d Cir. 1975), for the proposition that “retrials are not
    given to provide the plaintiff with an opportunity to improve its case”).
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  1 evidence for costs associated with the development of its own brand of primary
  2 pipe” when it had not pursued this theory at the first trial.14
  3         This bedrock principle of litigation is also at the heart of judicial estoppel—
  4 parties may not change their positions mid-proceedings simply because it suits their
  5 current strategy, especially when they have used their prior positions to successfully
  6 persuade the courts to rule in their favor.15 Nor can they oppose judgment as a
  7 matter of law (let alone request another bite at the apple in a retrial), on the basis of
  8 a theory of damages that they did not submit to the jury.16
  9
      14
 10     Id. (citing Habecker v. Clark Equip. Co., 36 F.3d 278, 288 (3d Cir. 1994) (holding
      that district court did not abuse its discretion in precluding plaintiff from pursuing a
 11   new theory in a subsequent trial where “at the first trial, no evidence was admitted
 12   on the new theory, no argument was made to the jury, and no points for charge were
      requested on that point”)); see also Apple, Inc. v. Samsung Elec. Co., Ltd., No. 11–
 13   CV–01846 (LHK), Dkt. 2271 (“Order re: Damages”) at 26 (N.D. Cal. March 1,
 14   2013), Dkt. 2316 (“Case Management Order”) at 3 (N.D. Cal. April 29, 2013)
      (granting in part Samsung’s motion for judgment as a matter of law when damages
 15   award was based on improper notice dates and Apple had not presented sufficient
 16   evidence at trial to recalculate damages for some of the infringing sales using the
      proper dates, and limiting Apple in the retrial on damages to those sales and the
 17   same theory it had pursued at the first trial).
 18   15
         See New Hampshire v. Maine, 532 U.S. 742, 742–43 (2001) (“Where a party
 19   assumes a certain position in a legal proceeding, and succeeds in maintaining that
      position, he may not thereafter, simply because his interests have changed, assume a
 20   contrary position, especially if it be to the prejudice of the party who has acquiesced
 21   in the position formerly taken by him.” (citations omitted)); Wagner v. Prof. Eng’rs
      in Ca. Govt., 354 F.3d 1036, 1050 (9th Cir. 2004) (reversing, as an abuse of
 22   discretion, district court’s granting of summary judgment based on “resurrected”
 23   theory because plaintiff was judicially estopped from pursuing position it had
      previously decided to abandon in order to “gain an advantage in the litigation”).
 24   16
         See Merchant Transaction Sys., Inc. v. Nelcela, Inc., No. CV 02-1954-PHX-
 25   MHM, 2009 WL 723001, at *18 (D. Ariz. Mar. 18, 2009) (holding court need not
 26   consider new theories of the case after party was provided full and fair opportunity
      to present their claim at trial); Lloyd v. Ashcroft, 208 F. Supp. 2d 8, 11 (D.D.C.
 27   2002) (“A plaintiff cannot change the theory of his case in his post-trial motion in
 28   order to survive a Rule 50 motion for judgment as a matter of law. He is bound by

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  1            In the present case, as discussed further below, Plaintiffs expressly waived
  2 any claim for the cost of replacing all their pipe today, only to assert precisely that
  3 claim in closing. As the court in Promega made clear, such strategic decisions have
  4 consequences, and litigants must be held to them in further proceedings. So too, as
  5 in Total Containment and Habecker, it would abrogate the most basic principles of
  6 fairness and due process to allow Plaintiffs to pursue damages based on future
  7 replacement at trial and then seek the cost of replacement today when the Court
  8 ruled out construction costs. Plaintiffs are also judicially estopped from disclaiming
  9 any intent to pursue present replacement costs in order to avoid judicial rebuke for
 10 pursuing factually unsupported and fundamentally inconsistent theories,17 only to
 11 present to the jury an inconsistent theory after the close of evidence.
 12            B.    Before Trial, Plaintiffs Abandoned All Claims for the Cost of
 13                  Replacing All Their Pipe Now
 14            Plaintiffs spent four years preparing and arguing their theories of damages in
 15 this case. Those theories were the basis for pretrial discovery and their legal
 16 sufficiency was briefed, re-briefed, and argued to the Court repeatedly by the
 17 parties. One of Plaintiffs’ theories was that they should recover damages based
 18 upon the cost of replacing all of their pipe within the next six months to two years,
 19 before it actually failed.18 J-M challenged this theory on multiple grounds,
 20 including that it conflicted with Plaintiffs’ claim for insurance to cover future
 21 failures and that there was no evidence of a threat of imminent failure or danger to
 22 public safety justifying immediate replacement.19 After briefing and argument, the
 23
      what he pled and attempted to prove at trial.”).
 24
      17
           See Dkt. 2494 at 19.
 25
      18
       Dkt. 2270 (Exemplar Pls.’ Submission Stating Damages Theory) at 3 (“Plaintiffs
 26 will also seek the full cost of replacing the J-M pipe, which includes both the cost of
 27 the pipe itself and the expense associated with its replacement.” (emphasis added)).
    19
 28    Dkt. 2466 (J-M’s Daubert Motion); Dkt. 2478 (J-M’s Daubert Reply); Dkt. 2521

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  1 Court precluded Plaintiffs from seeking the full costs of replacing their pipe now—
  2 including the present cost of the pipe—absent evidence (which Plaintiffs did not
  3 have) “of a likelihood that Plaintiffs’ J-M pipe would fail within six months to two
  4 years or posed a clear and present danger to health and safety, requiring
  5 replacement.”20
  6         In response, Plaintiffs represented to the Court and J-M that they would not
  7 seek damages based on immediate replacement.21 Plaintiffs proffered jury
  8 instructions for the damages trial were in accord.22
  9
 10 (J-M’S MIL No. 3).
      20
 11    Dkt. 2494 at 19 (quoting In re Countrywide Fin. Corp. Mortg. Mktg. & Sales
    Practices Litig., 277 F.R.D. 586, 607 (S.D. Cal. 2011), for the proposition that
 12 opinions of the party offering “varying opinions from [their] own experts also weigh
 13 in favor of a finding of unreliability”)).
    21
 14    E.g., Ex. 9, Hr’g Tr. 39:21–40:20 (Sept. 11, 2018) (“THE COURT: Let me stop.
    Let me ask this question of both parties: Aside from the issue of replacement costs
 15 as, you know consequential damages, it seems to me this issue really goes toward
 16 the contract price. In other words, I can understand this stuff that you’re arguing --
    you know, the degree of something from the contract price, but if we don’t include
 17 the replacement costs of digging up the pipe and putting in new pipe and stuff of that
 18 sort, this is an approximation, I suppose, of some request for an amount of money
    that approaches the contract price, you know, because the more the pipe has been in
 19 the ground and been used, you know, this provides some value, and if the benefit of
 20 the bargain is defined as the contract price, then we’re just arguing about some
    percent of the contract price. MR. HAVIAN: Your Honor, that is a piece of it, but
 21 it’s also highly relevant to the replacement cost theory. . . . Your Honor, the -- one
 22 thing I should make clear: We’ve heard the court’s rulings on full replacement costs,
    in other words, replacing all the pipe even not predicted to fail. We’re not going to
 23 continue to pursue that; we disagree with the court’s ruling.” (emphases added)).
 24 22 Dkt. 2645-1 (Proposed Jury Instructions) at 8:17–9:1 (“As to actual damages,
 25 Plaintiffs contend that, as a result of J-M’s failure to manufacture and test its pipe in
    a manner that assured that it had the quality, strength and durability as required
 26 under the applicable industry standards, the pipe Plaintiffs purchased will fail
 27 sooner than pipe that conformed to the applicable industry standards and thus
    will have to be replaced sooner.” (emphasis added)).
 28

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  1         C.     The Remaining Theories Plaintiffs Tried All Claimed Diminished
  2                Value Based upon Reduced Longevity
  3         Plaintiffs’ remaining damages claims were all based on the contention that a
  4 portion of Plaintiffs’ existing pipe had reduced longevity and would need to be
  5 replaced at specifically estimated times in the future. Tracking their proposed
  6 instructions, reduced longevity in fact predicated each of Plaintiffs’ proffered
  7 damages proofs at trial, from Dr. Davis’s opinions on the longevity of compliant
  8 pipe, to Mr. Paschal’s calculations of reduced long-term strength (based on
  9 abbreviated HDB tests) and the precise impact on longevity, to Mr. Edwards’s
 10 parallel calculations based upon Quick Burst tests, to Mr. Cathcart’s replacement
 11 cost estimates, to Mr. Lehmann’s calculations of reduced longevity and the present
 12 value of replacement. All of this was in line with Plaintiffs’ opening statement,
 13 which presented damages calculations premised on future failure.23 Each of these
 14 claims incorporated as one component the cost of buying new pipe to replace that
 15 proportion of pipe predicted to fail prematurely in the future.
 16         At the conclusion of the trial, the Court held that the labor costs of removal
 17
 18   23
         See Ex. 23, Pls’ Opening Slide titled “Actual Damages” (“Plaintiffs seek to be
 19   placed in the same position as if J-M had delivered pipe that complied with industry
      standards and would not fail prematurely. In order to be placed in the same position,
 20   Plaintiffs seek damages for: The Cost of Predicted Pipe Failures [$11 Million - $14
 21   Million]; Insurance for Predicted Pipe Failures [$13 Million - $16 million]; Cost of
      Pipe [$1.1 Million].”). While the contract price was listed and subsequently
 22   included in Mr. Cathcart’s testimony, what counts is that he used the different and
 23   much higher cost of replacement pipe as the basis for his opinions and those
      opinions went to the total cost of replacing Plaintiffs’ pipe (the cost of pipe +
 24   removal and reinstallation costs). And, to the essential point here, the only damages
 25   calculations Plaintiffs submitted were presented by Mr. Lehmann, who used the
      replacement pipe costs as an input to the calculation of the cost of replacing the
 26   portion of Plaintiffs’ pipe that he predicted would fail in the future. See, e.g., Ex.
 27   17, Trial Ex. 31281-C-7 (Arcadis Rpt. at App’x C); Ex. 1, Trial Tr. 6507:5–6508:7;
      Ex. 18, Trial Ex. 31293 (Lehmann’s revised SGL-11 (Oct. 30, 2018)).
 28

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  1 and reinstallation were impermissible consequential damages.24 But, Plaintiffs’
  2 evidence of (and claim for) reduced longevity and the cost of pipe upon premature
  3 future failure remained undisturbed. Accordingly, the jury was instructed, just as
  4 Plaintiffs requested in their proposed instructions, that Plaintiffs’ damages claim
  5 was based upon reduced longevity:
  6            As to actual damages, Plaintiffs contend that, as a result of J-M’s failure to
               manufacture and test its pipe in a manner that assured that it had the quality,
  7
               strength and durability as required under the applicable industry standards,
  8            the pipe Plaintiffs purchased will fail sooner than pipe that conformed to
               the applicable industry standards and thus will have to be replaced sooner.”
  9
               (emphasis added)).25
 10
 11            D.    Plaintiffs’ Damages Claim for Diminished Longevity Fails as a
 12                  Matter of Law Because Longevity Was Not Part of the Parties’
 13                  Bargain and Was Not Decided in Phase 1
 14            The law requires, the Court has ruled, and Plaintiffs have long conceded that
 15 the “benefit of the bargain” is the proper measure of damages in this False Claims
 16 Act case.26 That the “bargain” in this case is reflected in Plaintiffs’ specifications
 17 has taken much longer to establish, but it is equally clear on the law and undisputed
 18 on the facts. Plaintiffs conceded at trial that the specifications and the standards
 19 they incorporated contain no longevity requirement. It follows as a matter of clear
 20 False Claims Act law (under both the federal FCA and the state analogs that are
 21 interpreted consistent with the federal law) that damages for claimed reduced
 22
      24
 23        See Dkt. 2753.
      25
 24        Dkt. 2756 (Final Phase 2 Instructions) at 3.
      26
 25   Dkt. 2688 (Oct. 9, 2018 Benefit of the Bargain ruling) at 1; see United States v.
    Sci. App. Int’l Corp., 626 F.3d 1257, 1279 (D.C. Cir. 2010) (citing United States v.
 26 Bornstein, 423 U.S. 303, 316 n.13 (1976)); United States v. Woodbury, 359 F.2d
 27 370, 379 (9th Cir. 1966); Dkt. 2647 (Pls.’ Submission re. Damages for Anticipated
    Failures) at 1 (conceding applicability of “benefit of the bargain” measure).
 28

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  1 longevity are not recoverable. Plaintiffs will undoubtedly continue to fight this
  2 conclusion by citing irrelevant contract law. But they have now agreed that the
  3 Court should decide the role of the specifications in defining the “benefit of the
  4 bargain.” Plaintiffs’ claims for reduced longevity are also barred as a matter of law
  5 for the separate and independent reason that reduced longevity was not a predicate
  6 for the Phase 1 jury’s verdict.27
  7                1.      The bargain that controls Phase 2 damages is defined by the
  8                        project specifications
  9        False Claims Act law is clear that, where a written contract sets out the
 10 product or services to be supplied to the government, that contract defines the
 11 “bargain” the government has struck and, in turn, sets the bar for any claim for
 12 damages based upon the benefit of that bargain.28 The law is equally clear that the
 13 FCA does not displace the law of contracts and redefine the scope of the parties’
 14 agreement.29
 15
      27
       Ex. 1, Trial Tr. 325:11–13 (“MS. SHER: . . . So for Mr. Bernick to say that the
 16
    first trial didn’t litigate longevity, I understand why he’s saying that. We didn’t
 17 litigate 100 years, although actually it came up.” (emphasis added)).
      28
 18    See, e.g., Sci. App., 626 F.3d at 1278–79 (holding that jury could “award FCA
    damages for any loss in value to the NRC attributable to [defendant’s] failure to
 19 provide completely impartial conflict-free services required by the NRC contracts”
 20 (emphasis added)).
    29
 21    See Univ. Health Servs. v. United States ex rel. Escobar, 136 S. Ct. 1989, 1999
    (2016) (“It is a settled principle of interpretation that, absent other indication,
 22 Congress intends to incorporate the well-settled meaning of the common-law terms
 23 it uses” and that the FCA does not abrogate the common law absent “textual indicia
    to the contrary.” (citations omitted)); see also M&G Polymers USA, LLC v. Tackett,
 24 135 S. Ct. 926, 933, 935–37 (2015) (interpreting collective-bargaining agreement
 25 “according to ordinary principles of contract law,” holding that “traditional rules of
    contractual interpretation require a clear manifestation of intent before conferring a
 26 benefit or obligation” and a “written agreement is presumed to encompass the whole
 27 agreement of the parties,” and overruling the Sixth Circuit because it inferred
    benefits in the agreement, improperly “placing a thumb on the scale”).
 28

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  1            Thus, in the most factually apposite FCA cases that the Court analyzed
  2 repeatedly and in-depth, the plaintiffs were able to recover damages for the benefit
  3 of the bargain for which they specifically contracted. In Roby, the Sixth Circuit
  4 upheld a ruling applying the benefit of the bargain measure of damages and
  5 awarding as damages the cost of a helicopter where the parties had specifically
  6 contracted for “remanufactured helicopters as units, not as assemblages of assorted
  7 parts.”30 Similarly, the Federal Circuit in Commercial Contractors upheld an award
  8 of the costs of remedying deficiencies in channel construction when the defendant
  9 had specifically contracted to provide construction services, but did not comply with
 10 quality control standards specified in the contract.31 The other cases Plaintiffs
 11 repeatedly cited are in accord.32
 12            These cases also show courts giving meaning to the “by reason of/because of”
 13 language in the FCA, which reflects the FCA’s incorporation of the common law
 14 proximate causation requirement that the only damages that are recoverable are
 15 those commensurate with the loss of benefits caused by the defendant’s false
 16 statement or claim.33 Plaintiffs’ eleventh-hour gambit to ground their damages
 17
      30
           United States ex rel. Roby v. Boeing Co., 302 F.3d 637, 646–47 (6th Cir. 2002).
 18
      31
           Commercial Contractors v. U.S., 154 F.3d 1357, 1373–74 (Fed. Cir. 1998).
 19   32
       See, e.g., BMY-Combat Sys. Div. of Harsco Corp. v. United States, 44 Fed. Cl.
 20 141, 148–49 (1998) (awarding “[c]osts of inspection and repair incurred by the
 21 government” where the contractor failed to perform tests on every unit sold, as
    required by the contract); Daff v. United States, 31 Fed. Cl. 682, 695 (1994), aff’d
 22 78 F.3d 1566 (Fed. Cir. 1996) (awarding costs of testing and repairing military
 23 equipment where defendant violated its contractual obligations to inspect
    equipment, record observations, and report any deficiencies).
 24 33
       31 U.S.C. § 3729(a)(1)(G) (providing for recovery of “damages which the
 25 Government sustains because of the act of” the defendant (emphasis added)); see 31
 26 U.S.C. § 231 (1976) (providing for “damages which the United States may have
    sustained by reason of [the act of the defendant]” (emphasis added)); United States
 27 v. Luce, 873 F.3d 999, 1012 (7th Cir. 2017) (holding that FCA applies the common
 28 law proximate cause standard and explaining that “[t]he statutory language of the

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  1 claims in the (until then) barely mentioned state FCAs at issue does not affect this
  2 analysis because the equivalent California, Nevada, and Virginia False Claims Act
  3 statutes are interpreted consistently with the federal FCA, and Plaintiffs have
  4 identified no False Claims Act case that says otherwise.34
  5         This is not surprising. Before trial, Plaintiffs themselves relied upon the
  6
    FCA does not suggest that Congress sought to depart from the established common-
  7 law understanding of causation in fraud cases. The FCA simply allows the
  8 Government to recover damages which the Government sustains because of the act
    of that person.”); e.g., United States ex rel. Wall v. Circle C. Constr., LLC, 813 F.3d
  9 616, 617 (6th Cir. 2016) (holding that where defendant violated FCA law by
 10 underpaying employees, damages were limited to difference between the wages the
    defendant should have paid and what it actually did pay because “the government
 11 bargained for two things: the buildings, and payments of Davis-Bacon wages. It got
 12 the buildings but not quite all of the wages.”); see also Ab-Tech Constr., Inc. v. U.S.,
    31 Fed Cl. 429, 434 (1994), aff’d 57 F.3d 1084 (Fed. Cir. 1995) (holding that
 13 because “no proof has been offered to show that [Plaintiffs] suffered any detriment
 14 to [their] contract interest because of [defendant’s] falsehoods,” Plaintiffs could
    claim no damages (emphasis added)); id. (“Damages represent compensation for a
 15 loss or injury sustained. . . . [T]he Government got essentially what it paid for.”).
 16 34 See State of Ca. ex rel. Grayson v. Pac. Bell. Tel., 142 Cal. App. 4th 741, 746 n.3
 17 (2006) (“Given the very close similarity of California’s act to the federal act, it is
    appropriate to turn to federal cases for guidance in interpreting the act.” (citations
 18 omitted)); Chaffey Joint Union High School District v. FieldTurf USA, Inc., No. 16-
 19 cv-204 (JGB), 2017 WL 3048658, at *4 (C.D. Cal. Feb. 28, 2017) (denying
    summary judgment and allowing plaintiff’s claims under the CFCA for full
 20 replacement costs of synthetic field turf to proceed where plaintiff had contracted
 21 with defendants “for the purchase and installation of a synthetic turf field”
    (emphasis added)); Simonian v. Univ. and Comm. College Sys. of Nev., 128 P.3d
 22 1057, 1060 (Nev. 2006) (holding that “Nevada’s FCA is modeled after the federal
 23 FCA”); Int’l Game Tech., Inc. v. Sec. Judicial Dist. Ct. of Nev., 127 P.3d 1088, 1101
    (Nev. 2006) (“Nevada’s FCA was expressly modeled after the federal FCA.”);
 24 Lewis v. City of Alexandria, 756 S.E.2d 465, 479 n.4 (Va. 2014) (noting that “[t]he
 25 VFATA is based on the federal civil False Claims Act (FCA),” and holding that
    “FCA cases thus provide guidance for our review”); United States ex rel.
 26 Nottingham v. Thomas, No. 4:11cv99 (DEM), 2015 WL 7424738, at *6 (E.D. Va.
 27 Oct. 26, 2015) (“The [VFATA] allows for damages identical to those set forth in the
    False Claims Act.”), adopted 2015 WL 7430020 (E.D. Va. Nov. 20, 2015).
 28

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  1 written contracts when it suited their purposes.35 But, at the same time, they
  2 disingenuously searched in vain to find support in FCA law for the proposition that
  3 damages could be awarded for a lost benefit that was not part of the parties’ bargain.
  4 As Plaintiffs ultimately admitted, all they could come up with were breach of
  5 contract (and warranty) cases, which adopt a different standard based upon
  6 foreseeability.36
  7         At trial, Plaintiffs’ representatives agreed that the specifications and
  8 submittals defined the scope of the parties’ obligations,37 and the Court reiterated
  9
      35
 10     Dkt. 2515-1 at 6 (citing Brotherson v. Professional Basketball Club, 262 F.R.D.,
      564, 571–72 (W.D. Wash. 2009) (quoted for the proposition that “[s]ubjective
 11   expectations do not govern the determination”; “[o]bjectively reasonable
 12   expectations do” and “the objectively reasonable expectations of the parties” are
      “readily determinable” from the contract itself) and Founding Mem. of the Newport
 13   Beach Country Club v. Newport Beach Country Club, Inc., 109 Cal. App. 4th 944,
 14   956 (2003) (quoted for the proposition that “California recognizes the objective
      theory of contracts, under which it is the objective intent, as evidenced by the words
 15   of the contract, rather than the subjective intent of one of the parties, that controls
 16   interpretation . . . . The parties’ undisclosed intent or understanding is irrelevant to
      contract interpretation.”)).
 17   36
        See, e.g., Dkt. 2646 at 5:21–7:20; Dkt. 2436-1 at 68–69. See also Ex. 12, Hr’g
 18 Tr. 60:22–61:3, 62:2–5 (Oct. 5, 2018) (“THE COURT: . . . There’s enough federal
 19 False Claims Act cases for me to figure out generally where the problems are, and
    the questions or resolution. I’m looking for the state court to see if the state courts
 20 have resolved the issue. If they haven’t resolved the issue under the False Claims
 21 Act, I’m not going to look to their law insofar as breach of contract or for fraud
    because, again, I’m not concerned -- that doesn’t concern me. . . . MR. LITMAN:
 22 You are asking for the broom stick of the wicked witch of the west. The actual
 23 adjudication of state False Claims Act is fairly sparse, but the principle that it
    incorporates contract damages is robust and universal.” (emphasis added)); id.
 24 42:8–15.
 25 37 E.g., Ex. 1, Trial Tr. 4313:7–16 (Calleguas) (“Q. . . . So the contracts, the
 26 submittals, those set forth the obligations of the parties; correct? A. Yes. And the
    plans. Q. And the plans. And so those are the documents that at the end of the day it
 27 is all written down in one place what everybody’s obligations are; is that fair? A. As
 28 to Graycon and Calleguas, yes. Q. As to? A. The parties to the contracts.”); id.

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  1 that “the benefit of the bargain depends on what was in the contract.”38
  2        The parties’ arguments regarding the final jury instructions again focused on
  3 whether the written specifications and submittals controlled the substance of the
  4 “bargain.” After yet another round of briefing from the parties at Plaintiffs’
  5 insistence, Plaintiffs were still unable to find any law to the contrary, and
  6 unsuccessfully sought refuge in Commercial Contractors.39 The Court ultimately
  7 instructed the jury that what Plaintiffs “contracted for” was the touchstone of the
  8 “value” Plaintiffs were entitled to as part of the parties’ bargain.40 The verdict form
  9
 10
    1303:14–16 (Norfolk) (“Q. Is it your understanding that anything required by the
 11
    contract is reflected in writing? A. Yes.”); id. 1108:16–20 (South Tahoe); id.
 12 1740:3–8 (Palmdale); id. 2053:10–2053:18 (Reno); id. 1086:18–1087:1 (South
    Tahoe).
 13
    38
       Ex. 1, Trial Tr. 1750:4–5.
 14
    39
       In Commercial Contractors, the defendant contractor submitted false claims for
 15 construction of a channel, and the court held that the government was entitled to the
 16 costs of remedying the deficiencies caused by improper construction that affected
    the structural integrity of the channel. 154 F.3d at 1373–74. However, J-M’s sole
 17 contractual role was to supply pipe. J-M’s role as a supplier thus distinguishes this
 18 case from Commercial Contractors, where the defendant was a general contractor
    providing both materials and construction services. See Ex. 1, Trial Tr. 260:24–
 19 261:4 (“THE COURT: I agree. The reason why Commercial Contractors may not
 20 be applicable, even if one were to accept the approach of the Court in Commercial
    Contractors, is that there, you are right, it was the contractor, and here we have a
 21 supplier of pipe to a contractor. And so, therefore, the scenario is quite different.”
 22 (emphasis added)).
    40
 23    Dkt. 2756 (Updated Final Jury Instructions) at 8; see Ex. 1, Trial Tr. 6492:4–7
    (“THE COURT: I will give you the one that you think is so important. The one on
 24 the bottom of page 8, ‘would have expected based upon J-M’s contractual
 25 representation of compliance.’”); id. 6493:19–21 (“THE COURT: I think
    Mr. Bernick is certainly right in terms of expected versus – it should be ‘would have
 26 had’ as opposed to ‘expected.’”); id. 6495:6–9 (“THE COURT: I will actually put
 27 in ‘contracted’ rather than ‘paid’ on the paragraph 8 of page 8, the one that
    begins, ‘each plaintiff must prove,’ because that is contracted.” (emphasis added)).
 28

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  1 similarly used the contracts to predicate each of the three questions put to the jury.41
  2                  2.      It was undisputed at trial that the specified standards
  3                          imposed no longevity requirement
  4            Plaintiffs’ experts, as well as Plaintiffs’ representatives and Plaintiffs’
  5 counsel, all conceded at trial that the parties’ contracts and the standards they
  6 incorporated did not include any longevity requirement that J-M pipe needed to
  7 meet.42 Plaintiffs’ counsel has explicitly conceded this:
  8            MR. HAVIAN: . . . We told the jury – we argued to the jury the
               standards don’t address longevity. So, if the issue were just that, if
  9
               Mr. Bernick was right, that unless you see longevity in the standards
 10            or in the contracts, the case is over. You might as well just give
               them a directed verdict if the Court agrees with that argument.43
 11
                                         *      *        *
 12
      41
 13        Dkt. 2806, Special Verdict Form.
      42
 14      Id. 4322:1–4 (Calleguas) (“Q. And you would agree with me that the contract has
      no specific longevity set forth in it; correct? A. It doesn’t list a number of years.”);
 15   id. 1308:12–15 (Norfolk) (“Q. And there’s no mention anywhere in the contract or
 16   the standards that the pipe should last for any particular length of time, correct? A.
      Correct.”); id. 1757:2–4 (Palmdale) (“Q. There is no representation about specific
 17   life span, correct? A. Not that I’m aware of.”); id. 2057:7–16 (Reno) (“Q. First of
 18   all, with respect to the specifications, there is nothing in Reno’s specifications
      saying the pipe chosen for the project must have any specific life span or service
 19   life, correct? A. Correct. Q. And there is no contract term in any of the contracts
 20   for these projects containing any promise or representation that the pipe must last a
      hundred years or at least a hundred years; that is not in the contract terms, correct?
 21   A. Correct.”); id. 1108:5–14 (South Tahoe) (“Q. . . . There’s no requirement in any
 22   of the District’s specifications that the pipe chosen must meet any particular pipe
      lifespan or service span, correct? A. I don’t recall any estimated lifespan in the
 23   contract documents. Q. No term of the contract or any promise by anybody,
 24   including J-M, that the pipe must last exactly 100 years or at least 100 years. That’s
      not part anywhere in the contract, correct? A. No.”); id. 2694:9–13 (Paschal) (“Q.
 25   But in point of fact the standards themselves, there is no standard that requires a
 26   certain service life, right? True or not? A. Specifically within the standards we’ve
      been discussing today, that’s correct.”).
 27
      43
           Ex. 1, Trial Tr. 8419:20–8420:1 (emphasis added).
 28

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  1            THE COURT: I mean, again, if we take out subjective – if we are
               saying that subjective intent is not to be determinative of the issue, if
  2
               the contracts themselves do not specify longevity –
  3
               MR. HAVIAN: Well, they specify compliance with the standards.
  4
  5            THE COURT: Compliance with the standards, but the standards
               themselves do not indicate a period of time as to longevity.
  6
  7            MR. HAVIAN: That’s right.44
  8            As the Court indicated at the beginning of the trial, J-M is entitled to
  9 judgment as a matter of law on this basis alone:
 10            THE COURT: Well, my indication is I will allow them to make the
               argument. If at the end of the trial I conclude from all the evidence
 11
               that has been presented that you are, in fact, right, that there is no
 12            connection between a hundred-year estimate and the damages
               which they can get under the False Claims Act, then I will have to
 13
               give you a directed verdict.”45
 14
 15                  3.      Plaintiffs have agreed that the Court should decide whether
 16                          the specifications control as a matter of law
 17            When it became apparent that the jury would be hopelessly deadlocked absent
 18 further guidance from the Court on the scope of the parties’ bargain, Plaintiffs
 19 finally conceded what J-M has long urged—that the Court should resolve as a
 20 matter of law the question of whether the parties’ bargain was defined by the
 21   44
        Id. 8431:11–20 (emphasis added); see also Ex. 8, Hr’g Tr. 10:5–6 (Sept. 7, 2018)
 22   (“Nobody bargained for a particular life span of the pipe.” (emphasis added)); id.
      10:6–7 (MR. HAVIAN: “Our clients don’t say we bargained for a particular life
 23   span.” (emphasis added)); id. 33:14–16 (“MR. HAVIAN: There is no agreement on
 24   the life span. And we don’t argue that there is an agreement on the life span.”
      (emphasis added)); Ex. 9, Hr’g Tr. 18:21–24 (Sept. 11, 2018) (MR. HAVIAN:
 25   “[W]e are not seeking to sort of establish for purposes of the trial that 100 years
 26   was a promise that was made and that’s part of the bargain. That’s not our
      position, never has been.” (emphasis added)).
 27
      45
           Ex. 1, Trial Tr. 329:10–16 (emphasis added).
 28

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  1 specifications and standards at issue.46 Plaintiffs also conceded (because they
  2 believed it advantageous to do so) that the parties’ subjective expectations of
  3 longevity were irrelevant.47 Plaintiffs further conceded that, if the Court determined
  4 that the contracts and standards defined the scope of the parties’ bargain, the Court
  5 must direct judgment in J-M’s favor as a matter of law because neither included a
  6 longevity requirement:
  7        MR. HAVIAN: . . . [Y]our Honor, if it has to be in the contract
           and/or it has to be in the standards, then we are done. It is not – we
  8
           are done. Just give a directed verdict. Don’t send the jury back out.
  9        Give a directed verdict on that basis. . . . But frankly, if the Court is
           now going to accept that it has to be either in the contract or the
 10
           standards, then we lose.48
 11
 12        The Court also brought home the absence of any evidence supporting a
 13 bargain on longevity:
 14        THE COURT: But let me just ask you, the problem I have with your
           argument is that you are attempting to argue some sort of damages
 15
           that flow from some sort of loss of longevity because of the failure to
 16        produce compliant pipe.
 17
 18   46
       Ex. 1, Trial Tr. 8634:13–17 (“MR. HAVIAN: . . . So at some point, the court, I
 19 think, has to come to grips with whether it’s going to either squarely accept or reject
    J-M’s argument that unless longevity is in the contract or in the standards, which the
 20
    parties agree it’s not, then plaintiffs can’t recover damages.”).
 21 47 Id. 8414:2–3 (“MR. HAVIAN: . . . The parties’ subjective expectations are
 22 irrelevant.”); id. 8419:5–7 (“MR. HAVIAN: . . . What we do agree on is that
    evidence of the parties’ subjective expectations of pipe longevity cannot be
 23 considered in determining any actual damages.”).
 24 48 Ex. 1, Trial Tr. 8432:2–7 (emphasis added). Moreover, the Court can and should
 25 interpret the plain language of the contractual documents. See Beck Park
    Apartments v. U.S. Dept. of Housing and Urban Dev., 695 F.2d 366, 369 (9th Cir.
 26 1982) (“Interpretation of a contract is a matter of law.”); U.S. ex rel. Chilcott v.
 27 KBR, Inc., No. 09-cv-4018, 2013 WL 5781660, at *6 (C.D. Ill. Oct. 25, 2013) (“It is
    for the Court to determine the proper interpretation of the contract’s terms.”).
 28

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  1            And you don’t have anything upon which to base that on.
  2
               Supposedly you could try to base it on your clients’ subjective
  3            expectations as a basis for that, but if you don’t even have that, I don’t
               understand where you are getting any sort of figure from.49
  4
  5 The Court should thus enter judgment as a matter of law because Plaintiffs did not
  6 establish either under FCA law or based on any evidence that the benefit of the
  7 bargain included pipe longevity.
  8                  4.      Plaintiffs’ damages claim for reduced longevity also fails as a
  9                          matter of law because longevity was not in the Phase 1
 10                          verdict
 11            Judgment should also be entered in J-M’s favor as a matter of law for the
 12 separate and independent reason that the Phase 1 jury was not asked to and did not
 13 decide whether J-M falsely represented uniform compliance with a longevity
 14 requirement in the standards. There is no question that the longevity of J-M’s pipe
 15 in use was not litigated or decided in Phase 1. While Plaintiffs have pointed to the
 16 word “durability” in the description of their claim in the Phase 1 instructions, and to
 17 representations of longevity in certain Phase 1 evidence, there was no evidence or
 18 contention that longevity was required by any standard, Plaintiffs never argued in
 19 Phase 1 that it was, and today they concede that it is not. No longevity requirement
 20 in the standards means that longevity was not in the verdict and does not belong
 21 anywhere in this standards-based case.
 22            E.    Plaintiffs Failed To Provide a Legally Sufficient Evidentiary Basis
 23                  for Their Longevity-Based Damages Claims
 24            The Court should enter judgment in J-M’s favor as a matter of law on
 25 Plaintiffs’ longevity-based damages claims for the additional reason that Plaintiffs
 26 failed to provide a sufficient evidentiary basis to establish several factual predicates,
 27
      49
           Ex. 1, Trial Tr. 8445:10–20 (emphasis added).
 28

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  1 each of which was essential to their damages case.
  2                1.      Mr. Lehmann’s damages calculations were legally
  3                        insufficient
  4         The only longevity-based damages calculations Plaintiffs proffered at trial
  5 came in through Mr. Lehmann. All of the evidence Mr. Lehmann presented was
  6 based upon his actuarial methodology. That methodology, as well as the inputs to
  7 its application in this case, was unreliable under Daubert and Rules 702 and 703,
  8 and thus legally insufficient to support any verdict as a matter of law.50
  9         First, while Plaintiffs had argued there were two longevity-based damages
 10 theories, the first based upon a hypothetical insurance premium and the second
 11 based upon the present value of certain pipe that was predicted to fail prematurely in
 12
 13   50
        Evidence that fails to meet Daubert standards is insufficient under Rule 50. See
 14   Weisgram v. Marley Co., 528 U.S. 440, 456 (2000) (holding that lower court
 15   properly granted judgment as a matter of law under Rule 50 where it deemed expert
      evidence introduced at trial was unreliable and therefore inadmissible, and the
 16   remaining properly admitted evidence was insufficient to support a verdict); Brooke
 17   Grp. Ltd. v. Brown & Williamson Tobacco Corp., 509 U.S. 209, 242 (1993)
      (affirming judgment as a matter of law in favor of defendant and noting that “[w]hen
 18   an expert opinion is not supported by sufficient facts to validate it in the eyes of the
 19   law, or when indisputable record facts contradict or otherwise render the opinion
      unreasonable, it cannot support a jury’s verdict”); Goebel v. Denver and Rio Grande
 20   W. R.R. Co., 215 F.3d 1083, 1087 (10th Cir. 2000) (“The district court may also
 21   satisfy its gatekeeper role when asked to rule on a . . . post-trial motion.” (citing
      Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 597 (1993))); United States of
 22   Am. for the Use of Salinas Constr., Inc. v. Western Surety Company, No. C14-1963
 23   (JLR), 2016 WL 3632487, at *6, 9 (W.D. Wash. 2016) (holding that expert’s
      damages calculations were inadmissible expert testimony pursuant to Rules 701 and
 24   702, and that such objection was properly raised on Rule 50(b) motion); Accrentra,
 25   Inc. v. Staples, Inc., 851 F. Supp. 2d 1205, 1226–28 (C.D. Cal. 2011) (considering
      previously raised Daubert challenges in ruling on a Rule 50(b) motion), vacated on
 26   other grounds, 500 F. App’x 922 (Fed. Cir. 2013); see also Marbled Murrelet v.
 27   Babbitt, 83 F.3d 1060, 1066 (9th Cir. 1996) (“[E]vidence which is unreliable is
      necessarily insufficient.”).
 28

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  1 the future,51 Mr. Lehmann’s only task was to estimate the premium that would apply
  2 to an insurance policy covering the cost of premature failure of Plaintiffs’ pipe.52 It
  3 was solely for this task that Mr. Lehmann claimed expertise. In determining
  4 whether such an insurance policy might be obtained in the marketplace, Mr.
  5 Lehmann relied entirely on general principles of commercial insurance.53 He made
  6 no effort to go out into the marketplace to look for one.54 Nor did Plaintiffs.55 Mr.
  7
      51
  8        Dkt. 2645-1 (Proposed Jury Instructions) at 9:2–9 (Pls.’ proposed instruction).
      52
  9      Ex. 1, Trial Tr. 5232:23–5233:9 (“Q All right. And briefly, what were you asked
      to do in this particular case? A. Yes. I was retained by plaintiffs to determine a rate-
 10   making method that would compensate plaintiffs and insure them for the cost of
 11   premature failing of the [PVC] pipe that they bought from J-M, and based on the
      fact that the pipe was not in uniform compliance with standards. And then, secondly,
 12   I was asked to apply that rate-making method to the facts of this case and determine
 13   an appropriate premium in total for all five plaintiffs and for each of the five
      plaintiffs.”).
 14
      53
       Ex. 1, Trial Tr. 5482:18–5483:3 (“Q. . . . Your approach in this case has been an
 15 insurance approach, right? A. Yes. . . . I determine the premium. Q. . . . And the
 16 premium is for a commercial policy, right? A. Yes.”).
    54
 17    Id. 5487:11–15 (“Q. But on this policy, you didn’t go out to the marketplace to
    see whether this policy, whether any insurance policy would issue this policy did
 18 you? A. I couldn’t approach the market because we have confidentiality limits on
 19 what we can say about this case.”).
      55
 20       See, e.g., id. 4330:15–20 (Calleguas) (“Q. And you haven’t looked into any sort of
      insurance or self-insurance specifically with respect to the Lake Bard project;
 21   correct? A. We have not. I know that our own insurer doesn’t carry that type of
 22   coverage, but we haven’t investigated other types of insurance.”); id. 1315:10–15,
      1319:19–25 (Norfolk) (Q. You’ve never consulted an insurer to try to insure against
 23   the possibility of any of your J-M pile failed, correct? A. Norfolk is self-insured. We
 24   don’t have an insurance policy or insurer. Q. ‘No’ is the answer, correct? A. No
      insurance. . . . Q. It doesn’t say that you could spend the money in that account on
 25   any sort of insurance policy, correct? A. Like I said, we don’t have any insurance
 26   policy because we’re self-insured. You’re right. Q. Right. You wouldn’t spend the
      money on an insurance policy, correct? A. No.”); ; id. 1817:12–18 (Palmdale). (“Q.
 27   . . . The district has not bought any insurance to cover potential future problems with
 28   J-M pipe; correct? A. Independent insurance to cover replacement? Is that the

                                                  20
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  1 Lehmann admitted outright that his insurance policy does not exist in the real world,
  2 and that it was speculative.56
  3         Second, the entirety of Mr. Lehmann’s work was based upon actuarial
  4 standards, methods, and practices. He expressly disclaimed expertise in the
  5 underlying engineering and pipe science.57 As a consequence, it was through
  6 actuarial standards, methods, and practices that Mr. Lehmann purported to have a
  7 basis for relying upon the engineering models of Mr. Paschal and Mr. Edwards.58
  8 The actuarial standards called for him to perform a “credibility” assessment of both
  9
      question? Q. Yes. A. Correct.”).
 10   56
        Id. 5483:5–10 (“Q. Now, isn’t it true that the policy that you’re describing and
 11   have described to the jury is a policy that does not exist today? A. That’s correct. Q.
      Anywhere, right? A. Not that I’m aware of.” (emphasis added)); id. 5653:20–24
 12   (“Q. You said that 100-year policy is hypothetical, remember? A. Yes, I mean, we
 13   don’t have such a policy in existence today, I was pricing one. Q. You said it does
      not exist. It’s hypothetical, correct? A. That’s what I said yesterday, yeah, I agree
 14   with that.” (emphasis added)).
 15   57
        Ex. 21, Lehmann Dep. 23:8–10 (“Q. But you’re not an expert in engineering? A.
 16   No.”); Ex. 1, Trial Tr. 5248:22–25 (“Q. Was it important for you in your work as an
      actuary to understand the technical and engineering aspects of the product that you
 17   were being asked to price? A. I didn’t need to become an engineer.”); see also id.
 18   5249:17–19 (“Q. But you are not holding yourself out as an expert in PVC pipe or
      PVC pipe standards, are you? A. I am not.”); id. 5620:11–12 (“A. Yeah, I’m really
 19   not an expert on PVC pipe, and I haven’t read, you know, all the studies.”).
 20   58
        Trial Tr. 5248:22–5249:19 (“Q. Was it important for you in your work as an
 21   actuary to understand the technical and engineering aspects of the product that you
      were being asked to price? A. I didn’t need to become an engineer. That is not –
 22   that was not necessary. But the actuarial, we talked earlier about actuarial
 23   standards of practice. And actuarial standards of practice, there is an actuarial
      standard of practice dealing with actuaries who are working with models that are
 24   basically nonactuarial in nature. You know, engineering. . . . I had to become at
 25   least enough understanding about the models that I could assess the models, as to
      whether or not they were reasonable or not and whether or not the experts who
 26   had developed the models were experts in their fields. Q. But you are not holding
 27   yourself out as an expert in PVC pipe or PVC pipe standards, are you? A. I am not.”
      (emphasis added)).
 28

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  1 the historical data (i.e., the actual performance of the pipe at issue) and the non-
  2 historical data (i.e., test data on other pipe),59 and to develop a correct understanding
  3 of and properly apply models outside Mr. Lehmann’s area of expertise.60 Mr.
  4 Lehmann failed to meet these basic standards.
  5         Thus, as to the credibility assessment, Mr. Lehmann assigned 0% credibility
  6 to the historical data of Plaintiffs’ pipe in service, despite admitting that he had
  7 never before assigned 0% credibility to the actual experience and 100% credibility
  8 to a predictive model.61 Moreover, his “first time” work was done only for and in
  9 the courtroom; Mr. Lehmann had never even heard of someone else doing so
 10 before.62 In addition, Mr. Lehmann incorrectly premised his entire analysis on the
 11
      59
 12     Ex. 15, Trial Ex. 20183 (Actuarial Standard of Practice No. 25 “Credibility
      Procedures”) §§ 3.1, 3.2.
 13
      60
        Ex. 16, Trial Ex. 20184 (Actuarial Standard of Practice No. 38 “Using Models
 14 Outside the Actuary’s Area of Expertise”) § 3.1.
 15 61 Ex. 1, Trial Tr. 5501:13–5502:10 (“Q. . . . Twenty-two years of experience – up to
 16 22 years of experience, zero failures of pipe. You gave that zero weight, true or not?
    A. I’ve already answered that I gave it zero weight . . . . Q. Isn’t it a fact that this is
 17 the first time in your entire career where you have, assigned all of the weight to
 18 predicted models, first time in your career? A. This is a very unique – and it’s a – in
    a sense, it’s a new product, and so in a new product, you have no subject experience
 19 so you have to apply 100 percent predictability [sic] to your other data. Q. . . . Isn’t
 20 it a fact that this is the first time in your career of over 40 years that you’ve made a
    prediction -- made a prediction solely on the basis of predictive models? A. I’ve
 21 made predictions based on other data, but it’s – I just haven’t worked on that many
 22 new products that I would have had the occasion to base 100 percent. I know that
    others have, but I haven’t. Q. So the answer to my question is this is the first time.
 23 A. It’s the first time that I have relied on this . . . .”).
 24 62 Id. 5502:19–5503:2 (“Q. Models that have been created solely for purposes of
 25 litigation, not published in the open literature, but made solely for litigation. Are
    you aware of anybody who ever heard somebody who made predictions going out
 26 for decades solely based upon litigation models? . . . That’s certainly something
 27 you’ve never heard of before. A. I just indicated that I haven’t.” (emphasis
    added)).
 28

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  1 idea that Messrs. Paschal and Edwards’s models predicted a rate of failure of J-M
  2 pipe, when they specifically disclaimed any such prediction.63
  3            Third, the inputs in Mr. Lehmann’s model were flawed assumptions,
  4 rendering his calculations unusable. Mr. Lehmann admitted that he relied on the
  5 assumption that compliant pipe would last exactly 100 years and the assertion that
  6 J-M pipe would fail earlier.64 But, as Plaintiffs’ experts acknowledged, there was no
  7 data to support a precise 100-year longevity for compliant pipe.65 Moreover, Mr.
  8 Lehmann stated that he had not been informed—and thus, his expert opinions failed
  9 to consider—what Plaintiffs’ engineering experts admitted about 100 years.66
 10
      63
           See infra n.73.
 11
      64
       Ex. 1, Trial Tr. 5614:6–15 (“Q. Based upon this assumption that 3830 compliant
 12 pipe will fail on average in 100 years, at that point in time, based upon that, given
 13 Paschal and Edwards’ calculations for the strength of the J-M pipe, on average all of
    that pipe will necessarily fail in less than a hundred years. A. Yes. Q. Okay. So this
 14 assumption that all – all pipe, compliant pipe at 3830 will fail in a hundred years
 15 drives the fact of there being lesser lifetime for the J-M pipe, correct? A. Yes.”).
    65
 16    Id. 2699:23–25 (Paschal) (“Q. There’s no data that even goes to 100 years, PVC
    pipe hadn’t been around that long, correct? A. That’s what I said, yes.”); id.
 17 1517:10–20 (Davis) (“Q. I want to ask you about a hundred years exactly, 100 years
 18 exactly. Is there anything in your report – is there anything in your report that points
    to research which shows that pipe, normal pipe, compliant pipe, standard pipe, is
 19 expected to fail at 100 years exactly? A. No. Q. In fact, in your deposition you said
 20 that is too fine a point. You can’t say that there is data to say it is going to fail in a
    given year or after a given duration; correct? A. Correct.”); id. 5514:7–11
 21 (Lehmann) (“Q. . . . Tell me a single study, Dr. Folkman or anybody else, that says
 22 the average actual lifetime of compliant pipe is 100 years, no more, no less. Is there
    such a study? A. I’m not familiar with studies that say one way or the other.”); id.
 23 5617:21–5618:4 (Lehmann) (“Q. . . . I’m asking whether you can say that that is
 24 actually the correct number, 100 years? A. I don’t think anyone can say with
    certainty about something that far in the future. Q. Did you get that down right? No
 25 one can say with certainty that far in the future; is that correct? Is that your
 26 testimony? A. That’s my testimony.”).
    66
 27    Id. 5515:14–16 (Lehmann) (“Q. Do you know what these experts, Paschal,
    Edwards, and Davis, told this jury about 100 years? A. No.”).
 28

                                                23
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  1         Fourth, Mr. Lehmann’s predictions based upon the engineering models were
  2 contradicted by real-world experience. Pursuant to Mr. Lehmann’s model,
  3 Plaintiffs should have experienced multiple pipe failures by now.67 But Plaintiffs’
  4 representatives testified that they experienced no failures of the pipe at issue to
  5 date.68 Mr. Lehmann had no answer to this problem, and so, he retreated to the
  6 position that it was “too early” to validate his longevity predictions.69 Of course,
  7 this effectively abandoned the data and the models that were the sole support for his
  8
  9
      67
       Id. 5642:9–17 (Lehmann) (“Q. In the case of Mr. Paschal’s 3830 average failure
 10 22 years, isn’t it a fact that, roughly, according to his data, 18 percent of plaintiff’s
 11 pipe should already have failed by today? . . . A. My recollection was it was 14
    percent.”); id. 5643:17–22 (“Q. And you’ve told us that if you take a look at the test
 12 data and you – all that test data for Mr. Paschal you determined for each data point
 13 or the data, how long the pipe would actually last, the answer is that 14 percent of it
    should have failed by today, right? Based on his data. A. Right.”).
 14
    68
       Id. 4287:25–4288:2 (Calleguas) (“Q. . . . Has Calleguas experienced any failure in
 15 the Lake Bard project to date since 2003? A. No.”); id. 1315:17–20 (Norfolk) (“Q.
 16 And there have been no failures of any of the sticks of any of the pipe in these
    projects at issue in this case, correct, Mr. Speer? A. There have been no failures.
 17 That’s correct.”); id. 1818:11–14 (Palmdale) (“Q. And in all that time since the J-M
 18 pipe was first installed in 1998, there have not been any failures of the J-M pipe in
    these eight projects; correct? A. Not to date.”); id. 2066:8–11 (Reno) (“Q. And Reno
 19 has never experienced any failures in either of these two projects, once they have
 20 been placed in service, correct? A. Yes.”); id. 1924:3–6 (Reno) (“Q. There have
    been no failures of the pipe since it was replaced and placed in service; correct? A.
 21 Correct.”); id. 1133:9–12 (South Tahoe) (“Q. With respect to the J-M pipe in these
 22 13 projects, the district has not experienced any failures, correct? A. In reference to
    the 13 projects, to my knowledge, no, there’s been no leaks or failures in the pipe.”).
 23 69
       Id. 5650:18–20 (“Q. There’s no data in the real world of the plaintiff’s pipe that
 24 validates the prediction, correct? A. It’s too early.”); id. 5454:16–19, 5455:6–10
 25 (“A. . . . And it’s very premature to estimate what these will be, but this is the best
    estimate based on the information that I got from Mr. Paschal and Mr. Edwards. . . .
 26 Q. You just said – it’s a fair statement to say that these estimates – very premature to
 27 be making these statements does [sic] you don’t have enough data or experience,
    true? A. I don’t have enough data or experience with the plaintiffs.”).
 28

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  1 calculations and opinions, which ran contrary to the real-world results.70 Mr.
  2 Lehmann’s damages proofs were thus untethered to reality, rendering the calculation
  3 unusable as a matter of law.71 Because an expert “model is helpful only if it is
  4 predictive; if it cannot be predictive . . . then it fails in its purpose,” this unreliable
  5 expert evidence is insufficient to support any verdict for Plaintiffs as a matter of
  6 law.72
  7          Fifth, while Mr. Lehmann purported to rely upon the engineers’ work to
  8 predict the longevity of Plaintiffs’ pipe, those same engineers testified that they
  9 could make no predictions or analysis as to Plaintiffs’ pipe, as described further
 10 below. Thus, there was a complete lack of evidence regarding the physical
 11
      70
       Id. 5647:4–11 (“Q. As we sit here today, what kind of credibility did you give to
 12 the actual experience of this pipe in the first 16 years of use? Based upon your data,
 13 do you give that zero credibility or do you give it 100 percent credibility? A. As I
    explained, I considered that data, and I didn’t give it any numerical percentage
 14 because it’s way too early to be – way too early to be using that subject experience
 15 to make an estimate.”).
    71
 16    See Crescenta Valley Water District v. Exxon Mobile Corp., No. CV 07-2630-JST
    (ANx), 2013 WL 12116333, at *4 (C.D. Cal. Jan. 8, 2013); see also Circle C Const.,
 17 813 F.3d at 617 (“Actual damages by definition are damages grounded in reality.”).
 18 72 See Weisgram, 528 U.S. at 454 (holding that “inadmissible evidence contributes
 19 nothing to a legally sufficient evidentiary basis,” and affirming judgment as a matter
    of law under Rule 50 because expert evidence introduced at trial was unreliable and
 20 therefore inadmissible, and the remaining properly admitted evidence was
 21 insufficient to support a verdict (quotations omitted)); Brooke Grp., 509 U.S. at 242
    (affirming judgment as a matter of law in favor of defendant and noting that “[w]hen
 22 an expert opinion is not supported by sufficient facts to validate it in the eyes of the
 23 law, or when indisputable record facts contradict or otherwise render the opinion
    unreasonable, it cannot support a jury’s verdict.”); Crescenta Valley, 2013 WL
 24 12116333, at *4 (holding that expert model that is not predictive must be excluded
 25 under Daubert as unreliable); 02 Micro Int’l Ltd. v. Monolithic Power Sys., Inc., 399
    F. Supp. 2d 1064, 1076–77 (N.D. Cal. 2005) (holding that “[d]amages do, however,
 26 need to rest on a ‘reasonable basis,’” and granting judgment as a matter of law when
 27 jury’s award of unjust enrichment damages had no reasonable basis in light of the
    trial evidence (quoting Tri-Tron Int’l v. Velto, 525 F.2d 432, 436 (9th Cir. 1975)).
 28

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  1 properties of Plaintiffs’ pipe or the conditions of its use that would impact longevity,
  2 rendering Mr. Lehmann’s analysis entirely unsupported.73
  3            Each of the foregoing failures are classic, fatal Daubert problems that render
  4 Plaintiffs’ expert case entirely unreliable as a matter of law.74
  5            Finally, Plaintiffs disclaimed all of Mr. Lehmann’s evidence in closing:
  6            MR. HAVIAN: . . . Mr. Lehmann’s report was about insurance,
               doesn’t have anything to and [sic] the present value of replacing pipe
  7
               in the future. The question before you is what is the value of the pipe
  8            we got? . . . [T]he experts who testified here, it’s true they made
               predictions about when the pipe would fail. You can set those to one
  9
               side if you like, and certainly Mr. Lehmann had nothing to do with
 10            any of these . . . .75
 11                  2.      Plaintiffs’ engineering experts failed to prove the longevity of
 12                          compliant pipe in use, of J-M pipe made from 1996-2006, or
 13                          of Plaintiffs’ pipe
 14            First, it was undisputed that predicting pipe longevity in service requires
 15
 16   73
         Ex. 1, Trial Tr. 2424:18–24 (Paschal) (“Q. Well, to be clear, you have not done
 17   a specific analysis of plaintiffs’ pipe; correct? A. That’s correct.”); id. 3092:7–10,
      13–18 (Edwards) (“Q. I don’t see anything in your report that makes any predictions
 18
      with respect to the pipe these—these plaintiffs have. Am I right about that? A. Yes,
 19   there are no specific predictions. . . . Q. Mr. Paschal told us that you would need an
      awful lot more information to predict rates of failure for actual pipe in use. Do you
 20
      disagree with that? A. No, I agree with that. Q. That’s true of your work, too,
 21   correct? A. Yes.”).
      74
 22      See Tyger Constr. Co. Inc. v. Pensacola Constr. Co., 29 F.3d 137, 142 (4th Cir.
      1994) (“An expert’s opinion should be excluded when it is based on assumptions
 23   which are speculative and are not supported by the record.”); In re Silicone Breast
 24   Implants, 318 F. Supp. 2d 879, 889–90 (C.D. Cal. 2004) (“[A]ny step that renders
      the expert’s analysis unreliable renders the expert’s testimony inadmissible. This is
 25   true whether the step completely changes a reliable methodology or merely
 26   misapplies that methodology.” (quoting In re Paoli R.R. Yard PCB Litig., 35 F.3d
      717, 745 (3d Cir. 1994))).
 27
      75
           Ex. 1, Trial Tr. 6714:5–8, 6715:13–17.
 28

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  1 analysis of field conditions affecting pipe after installation.76 The applicable
  2 standards make it equally clear that long-term strength does not predict actual
  3 lifetime in the field.77
  4         Second, Plaintiffs nowhere proved the actual lifetime of compliant pipe. Dr.
  5 Davis initially said in his report that it was 100 years, but his testimony at trial was
  6 far less definite: “at least” 50 years, but it “could easily be a hundred or more.”78
  7
      76
       Ex. 14, Trial Ex. 20170 at § 5.5 (ASTM D2837) (“Hydrostatic Design Stress—
  8 Obtain the hydrostatic design stress by multiplying the hydrostatic design basis by a
  9 service (design) factor selected for the application on the basis of two general
    groups of conditions. The first group considers the manufacturing and testing
 10 variables, specifically normal variations in the material, manufacture, dimensions,
 11 good handling techniques, and in the evaluation procedures in this test method and
    in Test Method D 1598 (Note 8). The second group considers the application or
 12 use, specifically installation, environment, temperature, hazard involved, life
 13 expectancy desires, and the degree of reliability selected (Note 9).” (emphasis
    added)); Ex. 1, Trial Tr. 1490:3–14 (Davis) (Q. “Okay. Operational stresses. So,
 14 now we are not just dealing with the pipe in the laboratory under controlled
 15 conditions. We are doing pipe that is outside of the laboratory. It is being moved to
    the site. It is being installed in the ground. It is being covered over, and then it is
 16 subjected to whatever kinds of stresses it may see during the course of it lifetime;
 17 correct? A. Correct. Q. It is a much more complicated – it is a much more
    complicated thing to analyze; correct? A. The stress field is more complicated than
 18
    a single source from internal pressure.” (emphasis added)); id. 2916:15–18
 19 (Edwards) (“Q. . . . [N]ow, do you know exactly how long, without any more
    information, this pipe will last? A. No, you would need to know the stresses that it’s
 20
    under during its time in service.”).
 21 77 Ex. 14, Trial Ex. 20170 at §§ 1.6, 7.1 (ASTM D2837); Ex. 20, Trial Ex. UL-21
 22 (PPI TR-3, Note 5) at 4 of 92 (“The performance of a material (or a piping product
    made with that material) under actual conditions of installation and use is dependent
 23 upon a number of other factors and conditions which are not addressed in this
 24 report.”).
    78
 25    Ex. 1, Trial Tr. 1499:24–1500:5 (“Q. Now, this [50] to 200, can you state to a
    reasonable degree of certainty today – let’s just take J-M pipe from 1996 to 2006.
 26 Can you state to a reasonable degree of certainty when that will – what its estimated
 27 lifetime is? A. No. Beyond the – I expect at least 50 years. Could very easily be a
    hundred or more.”).
 28

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  1 Mr. Paschal and Mr. Edwards made no estimate. 79 Dr. Folkman’s testimony, based
  2 on his actual testing experience, that pipe in the field may last up to 200 years went
  3 unrebutted.80 By closing, Plaintiffs had abandoned hope of proving a lifetime for
  4 compliant pipe, telling the jury they could just pick one.81
  5        Third, in place of actual data and expert opinions on actual lifetime, all of
  6 Plaintiffs’ experts who sought to prove the reduced lifetime of J-M pipe simply
  7 assumed 100 years exactly as the lifetime of compliant pipe. This was an explicit
  8 “assumption.”82 Mr. Paschal acknowledged that his calculation required him to pick
  9 a number,83 that industry expectations varied,84 and that he did not consider
 10
      79
      Id. 2700:7–17 (Paschal) (“Q. . . . You don’t actually express an opinion on the
 11
    question of how long pipe that complies to standards actually will last, there is no
 12 such opinion in your report, true? A. I don’t believe so, no.” (emphasis added)); id.
    3008:16–21 (Edwards) (“Q. Do you also need to assume, or did you in this case
 13
    assume a benchmark level of how long compliant pipe would last? Yes.” (emphasis
 14 added)).
      80
 15   Id. 4628:10–14 (“A. How long a pipe is going to last is really difficult to estimate
    because of the many variables involved; however, my personal opinion is a properly
 16 manufactured and properly installed pipe, based on what we know, could easily
 17 reach 200 years of life.”).
      81
 18    Id. 6715:21–23 (“MR. HAVIAN: . . . Now, you can quarrel with a hundred years
    and say, Well, maybe they were wrong; maybe normal pipe will last 125 years or
 19 150 years.”).
 20 82 Id. 2688:22–2689:7 (Paschal) (“Q. . . . [I]n your analysis of service life, your
 21 benchmark for what was required of the pipe was that with an HDB of 4,000 psi is
    pipe . . . would have 100 – a 100-year service life, right? A. That was the
 22 assumption I made, yes. Q. Okay. Come back to that word. It’s a pretty important
 23 word. That was an assumption, right? A. Yes, the basis for the – the basis for the
    requirement for the service life calculation, yes.” (emphasis added)); id. 3008:16–
 24 21 (Edwards) (“Q. Do you also need to assume, or did you in this case assume a
 25 benchmark level of how long compliant pipe would last? A. Yes. Q. What was that?
    A. 100 years.”).
 26 83
       Id. 2689:8–12 (“Q. And am I right that it was the HDB pipe with an HDB that met
 27 the requirement of 4,000 psi would have a 100-year service life exactly? A. Yes, as
 28 far as the calculations, it requires a fixed number so that was 100 years, yes.”

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  1 Plaintiffs’ expectations.85 Dr. Davis also testified that there was no support for this
  2 assumption.86 Mr. Edwards pointed to no data of 100 years—he simply assumed
  3 this number based on “industry claims” of 100 years at a minimum, and disclaimed
  4 any support for 100 years exactly.87 Mr. Lehmann could not support 100-year
  5 longevity with any data either.88
  6         Fourth, both Mr. Paschal and Mr. Edwards further “assumed” that an HDB
  7
  8
  9 (emphasis added)).
    84
 10    Id. 2693:5–13 (“Q. Okay. Now, let’s go back to the question of HDB equals 100-
    year service life. Recognizing that it’s difficult, is it true that if you look through
 11 different sources of information, people have different opinions on how long
 12 compliant pipe should last? A. As I mentioned, the ones we looked at yesterday,
    there were quite a few that used the 100-year figure; I’m sure there are other people
 13 that might have other opinions.”).
      85
 14     Id. 2693:21–23 (“Q. Did you make any effort to find out what the plaintiffs in this
      case actually thought the expected life would be? A. No, I did not.”).
 15
      86
       Id. 1517:10–20 (“Q. I want to ask you about a hundred years exactly, 100 years
 16 exactly. Is there anything in your report – is there anything in your report that points
 17 to research which shows that pipe, normal pipe, compliant pipe, standard pipe, is
    expected to fail at 100 years exactly? A. No. Q. In fact, in your deposition you said
 18
    that is too fine a point. You can’t say that there is data to say it is going to fail in a
 19 given year or after a given duration; correct? A. Correct.”).
      87
 20      Id. 3008:16–3009:2 (“Q. Do you also need to assume, or did you in this case
      assume a benchmark level of how long compliant pipe would last? A. Yes. Q. What
 21   was that? A. 100 years. Q. Why did you choose that number? A. The industry . . .
 22   claims a hundred years life for their pipe, at a minimum. . . . It’s pretty widespread
      in Europe, as well, a claim of at least a hundred years lifetime for PVC pipe that is
 23   compliant.” (emphasis added)); see also id. 3009:10–12 (Edwards) (“Q. Now, are
 24   you asserting that it will be a hundred years on the money? A. No.” (emphasis
      added)).
 25
      88
      Id. 5514:7–11 (“Q. . . . Tell me a single study, Dr. Folkman or anybody else, that
 26 says the average actual lifetime of compliant pipe is 100 years, no more, no less. Is
 27 there such a study? A. I’m not familiar with studies that say one way or the other.”
    (emphasis added)).
 28

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  1 rating of 4000 psi (3830 psi minimum) equated to a service life of 100 years.89 They
  2 admitted that this too was not in any standard or method, and that the Plastic Pipe
  3 Institute (PPI) (which certifies compliance with the applicable standard) disagreed
  4 with their approach.90 Indeed, it was undisputed that their approach conflicted
  5 outright with the express terms of AWWA C900/905 and ASTM D2837, as
  6 described in the unrebutted testimony of Mr. Ferry. Mr. Ferry explained that an
  7 HDB of 4000 psi, coupled with the safety factor incorporated in D2837, contradicts
  8 any notion that pipe with an HDB of 4000 psi is expected to fail in 100 years.91
  9
      89
       Id. 3086:16–21 (Edwards) (“Q. And now on the service life side, you have the
 10 further opinion that the strength required for pipe or the strength of the pipe if it has
 11 an HDB of 4,000 PSI is a hundred years, right? A. Yes, that if it has an HDB of
    4,000, it would last a hundred years reasonably.”); id. 2689:8–12 (Paschal) (“Q. And
 12 am I right that it was the HDB pipe with an HDB that met the requirement of 4,000
 13 psi would have a 100-year service life exactly? A. Yes, as far as the calculations, it
    requires a fixed number so that was 100 years, yes.”).
 14
    90
       Ex. 20, Trial Ex. UL-21 (PPI TR-3) at 4 of 92 (“The term ‘50-year strength
 15 value,’ as used in ASTM D2837, is a mathematical extrapolation that is useful in the
 16 context of developing an HDS or HDB. It does not constitute a representation that
    any material with such a value will perform under actual use conditions for that
 17 period of time.” (emphasis added)); Ex. 1, Trial Tr. 2694:9–2695:6 (Paschal) (“Q.
 18 But in point of fact the standards themselves, there is no standard that requires a
    certain service life, right? True or not? A. Specifically within the standards we’ve
 19 been discussing today, that’s correct. . . . Q. . . . [B]ut there is no statement in the
 20 standard that says 50 years, 100 years, 200 years, 75 years, correct? A. I think the
    only statement in the standards would be in reference to doing the extrapolation to
 21 50 years in P[P]I TR-3 where it says that is not necessarily intended to mean that’s
 22 the useful life of the pipe.”); id. 3087:1–6 (Edwards) (“Q. Okay. Now, in point of
    fact, is it true that according to PPI TR3, that is according to the PPI technical
 23 guidance that is used to certify an HDB of 4,000 PSI, according to them, long-
 24 term HDB values are not an actual prediction of actual longevity, correct? A. Yes,
    that’s in the TR3.” (emphasis added)).
 25
    91
       Ex. 1, Trial Tr. 5910:9–13 (“Q. In a hundred years, would the rupture stress at
 26 operating pressure -- would the operating pressure or the stress rupture number, the
 27 LTHS, would they be at all close together or -- if you still have safety factor? A.
    There is an abundant safety factor there.”).
 28

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  1 Assuming such a short lifetime requires sharply “bending” the regression line down
  2 to produce a grossly premature failure.92
  3         Fifth, Plaintiffs’ experts admitted that they could not even state the longevity
  4 of J-M pipe made from 1996–2006 with a reasonable degree of certainty. Thus, Dr.
  5 Davis admitted that the estimated lifetime of J-M pipe from 1996–2006 could not be
  6 stated with a “reasonable degree of certainty,” and Plaintiffs’ expert engineers
  7 agreed with this.93 Instead, Plaintiffs’ experts simply assumed that compliant pipe
  8 would fail in 100 years and sought to show only that the reduced strength of J-M
  9 pipe would translate directly into reduced longevity. No account was taken of other
 10 potential causes of future failure arising from stresses in use.94 Mr. Edwards in his
 11
      92
       Id. 5913:3–10 (“Q. . . . I will take it from a hundred thousand hours to 150
 12 years. Is there any way you could get to a must fail during that period of time and
 13 remain consistent with the ASTM method and the AWWA standard? . . . [A.] You
    can’t. You can’t get there. You have to ignore the safety factor.” (emphasis
 14 added)).
 15 93 Id. 1499:24–1500:5 (Davis) (“Q. Now, this [50] to 200, can you state to a
 16 reasonable degree of certainty today – let’s just take J-M pipe from 1996 to 2006.
    Can you state to a reasonable degree of certainty when that will – what its estimated
 17 lifetime is? A. No. Beyond the – I expect at least 50 years. Could very easily be a
 18 hundred or more.”); id. 2701:2–16 (Paschal) (“Q. . . . Taking J-M pipe from 1996 to
    2006, [Mr. Davis] was asked whether he could state to a reasonable degree of
 19 certainty when that will – what its estimated lifetime is. ‘Can you state to a
 20 reasonable degree of certainty what its estimated lifetime is?’ His answer was, ‘No,
    I expect at least 50 years, could very easily be 100 or more. ’But when failures
 21 would start to occur, you would see a distribution of failures, a rate increase.’ Do
 22 you agree with him that you cannot state to a reasonable degree of certainty when J-
    M pipe will fail beyond his expecting at least 150 – 100 to 100-plus years? A. Well,
 23 based on the variability of the test data in that time period I don’t think we can state
 24 that because was there a high degree of variability.”).
    94
 25    Id. 2692:24–2693:4 (“Q. . . . In fact, isn’t it true that your analysis, this analysis
    here, where you say all of these numbers come down, all these numbers, none of
 26 this, none of these estimates, all is based on pipe and water pressure. None of it
 27 considers all the other factors that are involved in service life, correct? A. That’s
    correct.” (emphasis added)).
 28

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  1 report looked at post-installation stresses generally, but his report did not quantify
  2 any reduction of longevity for J-M pipe, and he was not permitted to introduce such
  3 new analysis at trial.95 He too simply assumed that compliant pipe would fail in 100
  4 years, and that J-M pipe would fail sooner due to lower strength.96
  5         Sixth, as to Plaintiffs’ pipe specifically, Mr. Lehmann alone opined on
  6 shortened longevity, relying solely on the work of the engineers.97 But those same
  7 engineers disclaimed any opinion on Plaintiffs’ pipe because they had not done any
  8 work with respect to Plaintiffs’ pipe.98
  9         At bottom, Plaintiffs’ damages calculations were a classic shell game, except
 10 there was no pea after all the maneuvering.
 11
 12
 13
      95
 14      See id. 3009:13–23 (“Q. You mentioned in-service stresses. Just can you explain a
      little bit more how the in-service stresses that you talked about before relate to the
 15
      hundred-year benchmark that you selected. A. Well, the range of stresses that I
 16   have in my report, the middle range is like 3,420 PSI. Actually, if you look at -- MR.
      BERNICK: Objection. This is the issue, Your Honor. It’s a hundred years, but now
 17
      we are getting numbers assigned -- we are building up to a percentage that is
 18   represented by those stresses. THE COURT: I’ll sustain the objection.”); see also id.
 19   2937:2–10.
      96
       Id. 3017:9–19 (“Q. . . . Okay. So back here in your estimation, pipe that – from
 20
    J-M – from J-M that has this 7068 number will not meet HDB, correct? A. Correct.
 21 Q. All right. Is such pipe at a much greater risk of failure? A. Yes. Q. Can it
    reasonably be anticipated that such pipe will exhibit lifetimes under 100 years when
 22
    exposed to normal in-service stresses? A. Yes.”).
 23 97 Id. 5446:11–19 (Lehmann) (“Q. They were not asked to issue an opinion on
 24 plaintiff’s pipe specifically, correct? A. I don’t think they were asked that directly,
    no. Q. So they provided a lot of information to you and analysis, but they didn’t
 25 actually do this work; you did this work on plaintiff’s pipe, correct? You used what
 26 they did to look at plaintiff’s pipe, right? A. It’s correct. I used their work and
    applied it to the plaintiff’s pipe, yes.”).
 27
    98
       Supra n.73.
 28

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  1                  3.      Plaintiffs failed to prove a mathematical relationship
  2                          between short-term testing, long-term strength, and longevity
  3            Per the Court’s Phase 2 jury instructions, the Phase 1 jury found that the three
  4 short-term tests addressed in Phase 1—Quick Burst, Abbreviated HDB, and
  5 Longitudinal Tensile Strength—“bear a relationship” to the long-term strength of
  6 pipe generally.99 Plaintiffs’ damages proofs, however, were premised on a more
  7 specific and demanding connection, i.e., that short-term strength tests can actually
  8 be used to calculate long-term strength (as defined by ASTM D2837) and then
  9 longevity. Plaintiffs failed to prove such a relationship with reliable evidence under
 10 Daubert, and their damages model failed as a result.
 11            Plaintiffs’ lengthy re-litigation of J-M’s historical views on the relationship
 12 between Quick Burst test results and HDB turned out to be entirely irrelevant. Each
 13 of the J-M witnesses Plaintiffs called did testify to a “general” relationship, but also
 14 testified that no “correlation” or mathematical relationship of the kind Plaintiffs’
 15 damages model required had ever been found. Lenor Jang admitted that there was
 16 insufficient data and it was an open question.100 Will Fassler said the same thing.101
 17
 18
      99
 19        Dkt. 2756 (Updated Final Jury Instructions) at 2.
      100
 20      Ex. 1, Trial Tr. 3158:16–20 (“Q. And as you said earlier, that study was never
    done, or at least it was never completed in order to get that proof confirming there
 21 was some correlation between Quick Burst and HDB, correct? A. As far as I
 22 know.”); id. 3161:12–15 (“Q. So it’s fair to say as of this time, whether the higher
    7200 Quick Burst number was actually required in order to pass HDB, was still an
 23 open question, still unresolved? A. Yes.” (emphasis added)).
 24 101 Id. 4223:13–15, 4224:1–8 (“Q. . . . [D]id you at this point in time believe that
 25 there was data that actually demonstrated this correlation that you were looking for?
    . . . [A]. There was no systematic data to provide a basis for that. [Q]. Could you
 26 tell us whether there was any disagreement – as you understood it in your internal
 27 R&D group, did you understand that there was any disagreement on that point? A.
    No. There was no disagreement on that that deserved further study.”).
 28

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  1 Even K.C. Yang ultimately conceded the same.102
  2         Plaintiffs’ experts similarly failed to establish a mathematical relationship
  3 between Quick Burst and HDB. Dr. Davis admitted he was unaware of any such
  4 correlation.103 Mr. Paschal acknowledged his Phase 1 testimony that the
  5 relationship between Quick Burst and HDB was general and that there was no
  6 mathematical calculation linking the two.104 The only evidence of such a
  7 relationship came from Mr. Edwards, but he admitted that: (1) he too was unaware
  8 of any mathematical relationship before his work on Phase 2;105 (2) his methodology
  9   102
        Id. 3669:22–3670:13 (“Q. Would you agree with me, Mr. Yang, that you cannot
 10 use Quick Burst to mathematically predict long-term strength? A. In general I
 11 agree with that, yes. Q. And you are not here to tell the jury that you know how to
    do that, are you? A. Mathematically, no. Q. You are not here to tell the jury that you
 12 can take a regression line from Quick Burst in some way and calculate an HDB or a
 13 long-term strength, right? A. No, you cannot. Q. You haven’t seen anything, you
    haven’t seen anything in all of the work that you’ve done over the years with the
 14 lawyers and with everybody else, and at JM, you’ve not seen anything that enables
 15 somebody to take Quick Burst tests and mathematically predict long-term strength,
    fair? A. That is a fair statement, it’s not mathematically relationship.” (emphasis
 16 added)).
 17 103 Id. 1472:8–12 (“Q. As a polymer scientist, is there a mathematical correlation
 18 between the change in the Quick Burst test and the level or the number of the
    amount of the HDB, mathematical correlation? A. I don’t know as we sit here right
 19 now.”).
 20   104
         Id. 2365:23–2366:9 (“‘Q. And you have never seen any sort of mathematical
      correlation between the Quick Burst value of pipe and its HDB; correct? ‘A. It is
 21
      more of a general relationship. There is not a direct mathematical equation that you
 22   use.’ Next question: ‘Q. You are not aware of any mathematical correlation between
 23   Quick Burst value of pipe and HDB; correct? ‘A. As I said, it is more general than
      that in terms of running the Quick Burst and using that to determine your HDB as
 24   you start the testing, but it is not a direct mathematical formulation.’”); id. 2364:12–
 25   14 (“A. . . . [I]n the absence of any other information then there would not be a
      direct mathematical relationship.”).
 26   105
       Id. 3023:14–18 (“Q. Well, isn’t it true that in this case, you just told on direct
 27 examination that all you knew about the relationship between Quick Burst and HDB
    before was that there was a general relationship, right? A. Yes.”).
 28

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  1 was done solely for the courtroom;106 (3) his methodology could not be found in any
  2 publication;107 and (4) both the ASTM and the AWWA had rejected such a
  3 relationship.108 Mr. Edwards also admitted that the Miner’s Rule conversion of
  4 Quick Burst results to sustained pressure ruptures, which was central to his analysis,
  5 was not in the ASTM methods for PVC,109 and he pointed to no other support.
  6
      106
  7     Id. 3078:4–8, 3078:17–20 (“Q. And the idea that you could take a twice-
    borrowed slope, extend it in both directions, attach it to a Miner’s Rule converted
  8 Quick Burst result, and come up with a reduced HDB, that is the calculation that no
  9 one ever has done before, to your knowledge, correct? . . . [M]y question really is:
    That is something you can’t find anywhere outside of this courtroom, correct? A.
 10 That’s correct.” (emphasis added)).
 11 107 Id. 3023:3–6 (“Q. And, again, the calculation was a calculation that you had
 12 never done before; it wasn’t published anywhere, it wasn’t in any standard; it was
    new, right, Mr. Edwards? A. Yes, I believe so.” (emphasis added)); id. 3022:1–6
 13 (“Q. . . . With all of the steps that you did an presented to the jury, you can’t find it
 14 in any – published – published anywhere? A. Well, it’s true that you wouldn’t find
    all of those steps put together for a particular analysis in any publication, yes.”
 15 (emphasis added)).
 16 108 Id. 3038:22–3039:2 (“Q. Actually, there is an ASTM Standard 1599 that
 17 specifically talks about . . . the relationship between Quick Burst and HDB, correct?
    A. There is a statement in that standard, yes. Q. And it says “Generally not
 18 indicative,” right? A. Yes.”); id. 3045:20–23 (“Q. . . . Your testimony about the
 19 relationship or what you do in relating Quick Burst to HDB is not in AWWA C900,
    right? A. That’s correct.”); id. 3050:24–3051:11 (“Q. . . . Your calculation of Quick
 20 Burst for HDB is not accepted, right? A. It’s not in the standard. Q. It’s not
 21 accepted, right? A. Yes, it’s not accepted as part of the standard. Q. It’s not accepted
    by any organization, any standards organization, correct? A. It’s not in any
 22 standard. Q. It’s not accepted by any methods organization, right? . . . [A]ny
 23 organization like ASTM that does methods, your method is not accepted by them,
    correct? A. My method in total is not, yes.”); Ex. 13, Trial Ex. 6708 (ASTM D1599)
 24 at § 4.1 (“They are generally not indicative of the long-term strength of
 25 thermoplastic or reinforced thermosetting resin pipe, tubing, and fittings.”); Ex. 19,
    Trial Ex. 33024 (AWWA Manual M23, PVC Pipe—Design and Installation) at 66
 26 of 181 (“Design for long-term, stead-state operating conditions based upon the
 27 short-term strength of PVC pipe would be inappropriate.”).
    109
 28     Ex. 1, Trial Tr. 3065:21–23 (“Q. Miner’s Rule has never been adopted for PVC

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  1         Plaintiffs’ evidence regarding Longitudinal Tensile Strength (LTS) and HDB
  2 failed to even address, much less prove, any calculational relationship. Dr. Davis
  3 said that he would expect some relationship, but he did nothing to prove one existed,
  4 let alone show that it was calculational.110 Mr. Edwards acknowledged merely a
  5 “general” relationship.111 Unsurprisingly, Plaintiffs’ own models confirmed that no
  6 calculational relationship exists—their experts did not rely on LTS tests to generate
  7 any damages number whatsoever.112
  8         Absent legally sufficient proof of a calculational relationship between Quick
  9 Burst or LTS test results and the HDB of pipe, the damages theories Plaintiffs
 10 pursued at trial failed as a matter of law.
 11         The same failure of proof extends to the ultimate question of reduced
 12 longevity in the field. Plaintiffs’ engineers did not even proffer a reliable method
 13
 14 pipe by either ASTM or AWWA, is that true or not? A. That’s true. It’s not been
    adopted by them.”); id. 3077:7–9 (“Q. Except that this, too, is something that you
 15
    can’t find in the ASTM methodology, correct? A. That’s right.”).
 16 110 Id. 1442:8–11, 19–22 (“Q. . . . [I]s there a relationship between the diminution in
 17 the longitudinal tensile strength test and long-term strength and durability? A. . . . If
    you have a decrease in one, the longitudinal tensile strength, I would expect a
 18
    corresponding decrease in the long-term properties as well.”).
 19 111 Id. 2911:10–13 (“Q. . . . What is your understanding of the relationship between
 20 longitudinal tensile strength and long-term strength and durability? A. Well, I think
    there’s still a general relationship . . . .”).
 21 112
        Id. 2360:14–18 (Paschal) (“Q. And the longitudinal tensile strength that you
 22 focused on with the jury, that is not part of that calculation, is it? A. . . . It is not
 23 directly used in the calculation.”); id. 2360:5–8 (Paschal) (“Q. In your calculations
    of reduced strength. You calculate reduced strength, and in doing so you do not use
 24 longitudinal tensile strength; correct? A. For the HDB analysis, no, I did not.”); see
 25 also id. 1467:12–14 (Davis) (“Q. You are not an expert in UL 1285? A. I don’t
    consider myself an expert of standards in general, that’s correct.”); id. 5660:20–23
 26 (Lehmann) (“Q. Am I correct that none of your calculations are based upon
 27 longitudinal tensile strength tests, true? A. My calculations are based on the HDB
    tests and the quick-burst tests.”).
 28

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  1 for predicting actual longevity in the field from any of the short-term strength tests
  2 (including abbreviated HDB). Mr. Paschal admitted that the abbreviated HDB tests
  3 he used could not be used to establish a final HDB under the standards, and that the
  4 standards regarding HDB did not tie out to a specific longevity.113 Neither Mr.
  5 Paschal nor Mr. Edwards tied the tests to the longevity of Plaintiffs’ pipe at all. The
  6 only witness who purported to do any of that was Mr. Lehmann.
  7 IV.     THE COURT SHOULD ENTER JUDGMENT AS A MATTER OF
  8         LAW NOTWITHSTANDING PLAINTIFFS’ CLAIM DURING
  9         CLOSING FOR THE COST OF REPLACEMENT OF ALL THEIR
 10         PIPE TODAY
 11         After four years of litigating their damages claims based upon reduced
 12 longevity and pursuing those claims for more than four weeks at trial, Plaintiffs
 13 abruptly abandoned these theories in their closing and asked the jury to award
 14 damages based on a theory of recovery the Court had previously foreclosed—i.e.,
 15 the pipe costs associated with replacing all of Plaintiffs’ pipe now.114 In doing so,
 16
      113
 17       Id. 2747:7–13 (“Q. All the data that you’re talking here, let’s be real clear -- you
      are talking solely -- you are relying solely on tests that never ran as long as they had
 18   to in order to produce the E-10 rating which was necessary for permanent
 19   certification, correct? These are all abbreviated, abbreviated tests; they are not E-10,
      true or not? A. That’s correct.”); id. 2694:9–13 (“Q. But in point of fact the
 20   standards themselves, there is no standard that requires a certain service life,
 21   right? True or not? A. Specifically within the standards we’ve been discussing
      today, that’s correct.” (emphasis added)).
 22   114
         Ex. 1, Trial Tr. 6639:9–6640:7 (“MR. HAVIAN: . . . [W]e want the money back.
 23   How much is that? . . . $2.1 million, 2.171. You can write that down if you like, you
 24   can write these numbers down. This document won’t go into the jury room with
      you, but there will be a document that will show you project by project, but this is in
 25   2016 dollars. The numbers you’ll see in the jury room are 2000 -- 1996 to 2007,
 26   that’s that one point, like a $1.2 million figure, that’s the original price when they
      bought the pipe over a decade ago. These are the numbers that reflect the -- what it
 27   would cost in 2016 to buy that pipe. We’re now in 2018, so we’ve got a couple
 28   years even on that. But at a minimum, at a minimum, we should get the 2016

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  1 Plaintiffs brazenly disregarded their own evidence (that only a proportion of
  2 Plaintiffs’ pipe would fail prematurely), the jury instructions, and the Court’s
  3 rulings. And they went further, asking the jury to award, without regard to the
  4 benefits Plaintiffs had received, the full cost of replacing all the pipe immediately.115
  5 J-M did not even have adequate opportunity to address in discovery Plaintiffs’
  6 revived and revised theory.116
  7
  8
  9 price of that pipe back. We should get our money back.” (emphasis added)); id.
    6712:6–10 (“MR. HAVIAN: . . . So when you go to -- we don’t know yet what your
 10 verdict form will look like, but just in case it requires you to put in the dollar value
 11 for each project you’re awarding damages on, this is the document you’ll be looking
    for, Exhibit 31281-E.”).
 12
    115
        E.g., id. 6431:12–24 (“MR. HAVIAN: Your Honor, I want to make sure that we
 13 are not being unclear about something. We are going to argue for the full contract
 14 price and present dollars based upon the fact that it has no value to us. And their
    burden is to show offset. THE COURT: Well, no. Actually that is not their
 15 burden to show offset. It is the burden on the government to show damages.”
 16 (emphasis added)).
    116
 17     This was a clear violation of J-M’s due process rights. See, e.g., Roberts v. Ariz.
    Bd. of Regents, 661 F.2d 796, 798 (9th Cir. 1981) (affirming the district court’s
 18 “specific finding of prejudice to the opposing party, noting that the [new theory] was
 19 raised at the eleventh hour, after discovery was virtually complete”); Mauro v.
    S. New Eng. Telecomms., Inc., 208 F.3d 384, 386 n.1 (2d Cir. 2000) (affirming the
 20 district court’s preclusion of a new theory of liability raised for the first time during
 21 summary judgment briefing); ING Bank v. Am. Reporting Co., LLC, 859 F. Supp. 2d
    700, 704 (D. Del. 2012) (“To allow plaintiff to alter its theory of the case [two
 22 weeks before trial] would unduly prejudice the defendant by forcing it to prepare to
 23 defend against a new theory of the case after discovery has been completed.”);
    Sharkey IRO/IRA v. Franklin Res., 263 F.R.D. 298, 302 (D. Md. 2009) (denying
 24 plaintiffs’ motion to add a new theory of the case after discovery was essentially
 25 complete because it resulted in prejudice to the defendants); Browder v. General
    Motors Corp., 5 F. Supp. 2d 1267, 1274 (M.D. Ala. 1998) (granting motion to strike
 26 new theories where new theory not disclosed until fifteen days before discovery
 27 deadline and defendant could not “possible [sic] prepare to defend these new
    theories in such a short time frame”).
 28

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  1         A.     Plaintiffs Abandoned Their Claim for the Present Cost of
  2                Replacement Pipe in the Face of the Court’s Rulings, and It
  3                Conflicted with the Case Plaintiffs Tried
  4         As discussed above, the Court ruled before trial that Plaintiffs could not
  5 recover the cost of replacing all of Plaintiffs’ pipe today where there was no threat
  6 of imminent failure or other hazard to public health.117 Plaintiffs responded by
  7 abandoning that claim.118 At trial, Plaintiffs presented no such evidence. Indeed,
  8 Plaintiffs’ evidence said the opposite—that only a proportion of Plaintiffs’ pipe was
  9 predicted to fail, years in the future. The jury instructions regarding their claims
 10 were in accord: Plaintiffs’ claim was solely for damages based upon reduced
 11
      117
 12       See Dkt. 2494 (June 21, 2018 Daubert Ruling) at 19 (“Though Plaintiffs can only
      receive damages under this damages theory [i.e., replacement costs] if they can
 13   prove to the jury that these costs are a reasonable means of placing Plaintiffs in the
 14   position they would have been in but for Defendant’s misrepresentations, the court
      does not see a reliability issue in Cathcart’s opinion meriting exclusion vis-à-vis
 15   Daubert assuming Plaintiffs can show a likelihood of failure between six months to
 16   two years.” (emphasis added)); Dkt. 2538 (Aug. 2, 2018 Tentative) at 8 (adopting as
      final relevant section of June 21 Order); Ex. 10, Hr’g Tr. 68:22–69:6 (Sept. 21,
 17   2018) (“THE COURT: . . . Because, again, in those situations where you have
 18   extraordinary amounts that are charged against the defendant, it is because of the
      situations where it is, you know, life-threatening. But you guys do not have any, that
 19   I see, actual statements of danger -- an imminent danger of a failure.” (emphasis
 20   added)); Ex. 11, Hr’g Tr. 166:12–21 (Oct. 3, 2018) (“THE COURT: . . . Again, I
      have indicated that under the benefit of the bargain theory, the type of situation
 21   where the person gets over and above the contract price of the item and treble
 22   damages from that, there are no cases that talk about other types of tangential
      situations, with the exceptions of where it is a threat to life and limb or something of
 23   that sort. And so, again -- and we obviously don’t have that here.” (emphasis
 24   added)); see also Dkt. 2688 (Oct. 9 Benefit of the Bargain Ruling) at 3.
      118
 25    E.g., Ex. 9, Hr’g Tr. 40:16–20 (Sept. 11, 2018) (“MR. [HAVIAN]: Your Honor,
    the – one thing I should make clear: We’ve heard the court’s rulings on full
 26 replacement costs, in other words, replacing all the pipe even not predicted to fail.
 27 We’re not going to continue to pursue that; we disagree with the court’s ruling.”
    (emphasis added)).
 28

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  1 longevity.119 Plaintiffs’ demand for the pipe costs associated with replacing all the
  2 pipe today was thus barred by the law and the Court’s rulings, and entirely
  3 unsupported by the trial record.
  4            B.    Plaintiffs’ Evidence Was Legally Insufficient To Support Their
  5                  Claim for the Present Cost of Replacement Pipe
  6            Plaintiffs also failed to satisfy their burden of proving that the benefit they
  7 received from their pipe was less than what they bargained for. The law and the
  8 Court’s instructions were clear that Plaintiffs had the burden to prove both the
  9 benefit promised and the difference (if any) between that and the value of the pipe
 10 Plaintiffs received.120 Plaintiffs boldly told the Court they were going to ignore this
 11 law, despite the Court’s repeated rulings that it was Plaintiffs’ burden to prove the
 12 value received, not J-M’s.121 It is perhaps no surprise that Plaintiffs blatantly
 13 disregarded the Court’s rulings—the trial record was undisputed that Plaintiffs have
 14 received value from their J-M pipe to date.122 Plaintiffs’ damages calculations
 15
 16   119
            Dkt. 2756 (Final Phase 2 Instructions) at 3.
 17   120
         See Sci. App., 626 F.3d at 1279; Dkt. 2756 (Final Phase 2 Instructions) at 8 (“I
 18   have told you that each Plaintiff must prove that the pipe it received was worth less
      than what it was promised. This requires you to compare two values: the value of
 19   the pipe received and the value of the pipe each Plaintiff was promised and paid for.
 20   In considering whether each Plaintiff received the benefit of its bargain, you must
      determine the value the Plaintiff has obtained from the pipe since it was delivered
 21   and installed.”).
 22   121
         E.g., Ex. 1, Trial Tr. 6431:12–24 (“MR. HAVIAN: Your Honor, I want to make
 23   sure that we are not being unclear about something. We are going to argue for the
      full contract price and present dollars based upon the fact that it has no value to
 24   us. And their burden is to show offset. THE COURT: Well, no. Actually that is
 25   not their burden to show offset. It is the burden on the government to show
      damages. MR. HAVIAN: Well, we will show the difference between the value of
 26   what we paid and the value of what we got. And Mr. Bernick is trying to further
 27   restrict that. He can argue whatever he wants to argue, but that is the argument
      we are going to make to the jury.” (emphasis added)).
 28

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  1 ignored that value.123
  2 V.      PLAINTIFFS CANNOT BE PERMITTED TO CONTINUE THEIR
  3         CASE ON ANY GROUNDS
  4         Plaintiffs have now had the opportunity to litigate this bifurcated case over a
  5 period of eight years, and the Court has given them the flexibility to take that
  6 opportunity to the limit. Not only have they conducted massive discovery and put
  7 on months of evidence at trial, but they have tested out multiple, conflicting legal
  8 and factual theories of their case. And they have done so unlawfully, by unilaterally
  9 changing their legal and factual theories during trial, between trials, and even during
 10 closing.
 11         This pattern goes back to Phase 1, where this conduct produced a result the
 12 Court has accurately described as a “train wreck.”124 As the Court has observed,125
 13
      122
 14      Id. 4334:2–5 (Calleguas) (“Q. Right. So the part of the lifetime of the pipe you
      have already gotten. You have already gotten 16 years of the lifetime of the pipe;
 15   right? A. The pipe has performed for 16 years.”); id. 1317:14–17 (Norfolk) (“Q.
 16   And so up until today, Norfolk’s gotten the value it would have expected from that
      pipe, correct? A. It continues to function to carry the water like it was intended to
 17   do, yes.”); id. 1820:10–14 (Palmdale) (“Q. And because the J-M pipe has not failed,
 18   continued to deliver water continuously, some cases up to 20 years, the J-M pipe has
      met the district’s expectations at least to date; correct? A. I would say that’s
 19   correct[.]”); id. 2067:20–22 (Reno) (“Q. To date, the pipe has delivered value to
 20   Reno by continuously conveying water to these two projects, correct? A. Yes.”); id.
      1137:16–21 (South Tahoe) (“Q. Provided value by continuously delivering water, in
 21   some cases up to 22 years, correct? A. That’s part of the value. Q. In fact, the district
 22   treats the J-M pipe as an asset on its financial documents, correct? A. Yes.”).
      123
 23     Id. 6638:19–6639:11 (“MR HAVIAN: . . . What’s the difference in value -- that’s
    the question the court has asked you to answer -- what is the difference in value
 24 between what we paid and what we got? . . . So what we urge you to decide is the
 25 value we got was nothing. . . . So even if we’d gotten 16 years ago of value, J-M’s
    gotten 16 years’ worth of value of our money, and we want the money back.”).
 26 124
        Ex. 8, Hr’g Tr. 119:12–14 (Sept. 7, 2018) (“THE COURT: No. I am trying to --
 27 we don’t have the train wreck that Phase I was.”); see also Ex. 7, Hr’g Tr. 39:8–17
 28 (Aug. 2, 2018) (“THE COURT: My problem with the Phase I trial, it was unclear

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  1 Plaintiffs changed their theory of liability mid-trial in Phase 1, abandoning their
  2 proffered theory that they received substandard pipe,126 and instead arguing that the
  3 jury could find liability under the vague “elements” theory of FCA law,127 and the
  4 concept of “representativeness”/“uniform compliance,” i.e., if it found any false
  5 statement made about any pipe at any time.128 To this end, Plaintiffs told the Phase
  6 1 jury that it need not find that any of Plaintiffs’ pipe had reduced physical
  7
  8
    during major portions of the trial what exactly was being litigated. . . . I have
  9 consistently said that, and that is the reason why I said Phase I would have no res
 10 judicata effect as to the later -- the non-exemplary plaintiffs because I had a question
    as to what exactly was the nature and what was being litigated.”); Ex. 5, Hr’g Tr.
 11 23:11–14, (Jan. 12, 2015) (“THE COURT: [B]ut the only problem is that given what
 12 happened in the first phase of the [trial], it is – you know, the dust settled, but I
    don’t know what happened in Phase 1.”).
 13 125
        Ex. 3, Hr’g Tr. 27:5–7 (Feb. 24, 2014) (“THE COURT: . . . I must agree with
 14 defense counsel that the plaintiff’s theory, for lack of a better term, evolved.”).
      126
 15      E.g., Ex. 2, Hr’g Tr. 23:25–24:1 (May 7, 2012) (“MR. HAVIAN: We are only
      going to be talking about the substandard products theory.”).
 16
      127
        Ex. 4, Hr’g Tr. 28:23–29:4 (Dec. 18, 2014) (“THE COURT: But the problem
 17 here is that it is really kind of unclear. That is one of the complaints of the defense is
 18 that the plaintiffs kind of, I don’t want to say shifted because that is their
    characterization. I would just say quick footed insofar as whether or not it is
 19 fraudulent inducement, whether or not it is substandard product, whether or not it is
 20 false certification.”).
      128
 21        Ex. 22, Trial Tr. 7941:2–21 (Nov. 5, 2013) (“MR. HAVIAN: . . . Here plaintiffs
      have shown you that J-M falsely represented uniform compliance with AWWA
 22   C905. That’s why this claim was false. J-M falsely represented uniform compliance
 23   with UL 1285. So that’s what you have to decide. You are back there in the jury
      room. Sit down. You say, do we agree that J-M was uniformly promising
 24   compliance with C905 and was that true? So it’s actually fairly straightforward . . .
 25   [I]n terms of the claim that we are presenting to you today, there is only two kinds.
      . . . Did they falsely represent that their pipe uniformly complied with C900 and
 26   C905, yes or no? Did they uniformly represent that their UL pipe complied with
 27   UL, yes or no? . . . And you will go through that same exercise for each of the
      projects.” (emphasis added)).
 28

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  1 properties.129
  2         Between the Phase 1 trial and Phase 2, Plaintiffs shifted theories again,
  3 asserting that their damages should be measured not by “representativeness,” but by
  4 the reduced physical properties (and thus longevity) of their pipe.130
  5         Plaintiffs moved dervish-like through the Phase 2 trial. On the eve of trial,
  6 Plaintiffs unilaterally decided to add a new “present value” theory of recovery
  7 nowhere set out in their Court-ordered enumeration of Phase 2 damages theories.131
  8 During the trial itself, Plaintiffs repeatedly revised their damages case: Mr. Paschal
  9 unilaterally abandoned his 3830 psi UCL calculation of pipe longevity on the
 10 witness stand,132 Mr. Cathcart re-did the entirety of his replacement cost analysis
 11 mid-trial,133 and Mr. Lehmann revised his damages calculations based upon both
 12 Mr. Paschal and Mr. Cathcart’s changes.134
 13
      129
 14     Ex. 22, Trial Tr. 8136:8–20 (Nov. 6, 2013) (“MR. HAVIAN: . . . The court will
    never instruct you anywhere that we have to show we got substandard pipe. . . . [I]t
 15 is not about substandard products and we do not have to show that in this phase of
 16 this case in order to prevail. That is nowhere in the jury instructions.”).
    130
        Ex. 1, Trial Tr. 8061:15–20 (“THE COURT: No. No. I am not talking about your
 17
    presentation. I am talking about your theory of damages. In other words, even way
 18 before this case -- the Phase II portion of the trial ever started, you guys selected a
 19 basis upon which the plaintiffs would establish damages, which was this reduction
    in lifespan.”).
 20 131
        See Ex. 6, Hr’g Tr. 7:16–25 (Dec. 12, 2016) (ordering Plaintiffs to identify the
 21 damages theories they would pursue at the Phase 2 trial); Dkt. 2270 (Exemplar Pls.’
    Submission Stating Damages Theory).
 22
    132
        See Ex. 1, Trial Tr. 2265:6–18 (“Q. [I]n terms of your feeling about the validity
 23 of that calculation, what is your reaction to that? A. I don’t think it would be
 24 representative at all. . . . [Y]ou are being overly generous in terms of assuming how
    the pipe is actually going to perform.”).
 25
    133
        See Dkt. 2705 (J-M’s Submission re: Revised Arcadis Expert Rpt.); Dkt. 2711 (J-
 26 M’s Reply to Pls.’ Submission re: Revised Arcadis Rpt.).
 27 134 See Ex. 18, Trial Ex. 31293 (Lehmann’s revised SGL-11 (Oct. 30, 2018)); Dkt.
 28 2727 (J-M’s Mot. for Relief re: Pls.’ Mid-Trial Change in Damages Theory and

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  1        Plaintiffs’ closing was their notion of a bravura performance. They
  2 abandoned their claims for the lost value of their pipe based upon reduced longevity,
  3 disclaimed their expert proofs of premature failure and the resulting shortened
  4 service life, and disregarded the corresponding diminution in value their experts
  5 calculated.135 All of Plaintiffs’ own testimony as to why suit was brought (i.e., to
  6 address “concerns,” “doubts,” and “speculation” about future failure) and the
  7 purpose of the funds that they had just resolved to create (i.e., for future repairs and
  8 replacement)136 now meant nothing at all. Instead (contrary to the Court’s rulings
  9
 10 Lehmann Testimony).
    135
 11     Ex. 1, Trial Tr. 6522:23–6523:11 (“MR. HAVIAN: . . . [T]he only thing we are
    seeking is the difference between the value of the pipe as promised and the value of
 12 the pipe as delivered. It has nothing to do with future replacement. It has to do
 13 with what value have we gotten from this pipe, and is it different from the value we
    were promised. So these present value calculations that I agree are completely
 14 relevant if you are going to replace pipe in the future have no relevance to the
 15 question of when they charged us X dollars for this pipe, were we overcharged.
    What was the difference in value between what we were charged and what we got.
 16 So this argument is no longer even relevant.” (emphasis added)); id. 6637:18–25
 17 (“MR. HAVIAN: . . . So what do we do? We use the test results we had. We
    created some predicted times to failure. Our experts worked with the -- all of the
 18 data that we had from J-M on the three tests that the jury said were the relevant,
 19 three just those three, all the data we had from those, and they created some
    predicted times to failure. At this point, those don’t matter, doesn’t matter when
 20 the pipe -- because that’s not the question we have anymore is what will it cost to
 21 replace the J-M pipe.” (emphasis added)).
    136
 22     E.g., id. 1819:21–24 (Palmdale) (“Q. So the district’s claim for damages is
    actually based on financial harm that it speculates it might incur in the future;
 23 right? A. Correct.” (emphasis added)); id. 4335:23–24 (Calleguas) (“We are just
 24 looking to recover costs that we are expected to incur.” (emphasis added)); id.
    1071:24–1072:5 (South Tahoe) (“Q. [W]hat are you asking for in terms of how
 25 much they should give you? A. . . . [T]he damages to make the district whole is to
 26 be able to replace that pipe when it fails early for our customers.” (emphasis
    added)). id. 1291:21–1292:3 (Norfolk) (“Q. [W]hat is Norfolk’s plan for the money
 27 that it receives? A. City council recently passed a resolution where we’re going to
 28 set aside an escrow fund . . . to put the money in there to save it for when the pipe

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  1 and jury instructions), Plaintiffs asked the jury to award as damages the current cost
  2 of replacing all pipe instead.137
  3        Plaintiffs’ counsel even took it upon himself to tell the jury that they were just
  4 there to say “amen” to the Phase 1 verdict, thereby countermanding the Court’s
  5 instruction to the jury that it alone was to decide whether Plaintiffs’ pipe had
  6 reduced strength and longevity compared to what was required by the standards.
  7 Plaintiffs’ counsel told the Phase 2 jury that the Phase 1 jury already found that J-M
  8 pipe—including Plaintiffs’ pipe—was “inferior.”138 Plaintiffs’ counsel made this
  9 representation, despite having explicitly told the Phase 1 jury not to determine the
 10 physical properties of Plaintiffs’ pipe, and despite the Court’s January 31, 2018
 11 ruling that upheld the Phase 1 verdict and determined that the Phase 1 jury did not
 12 make any findings with respect to Plaintiffs’ pipe,139 the Court’s June 21, 2018
 13 ruling that “[t]he Phase One Jury did not determine that non-compliant pipe was
 14 physically inferior to compliant pipe,”140 and Plaintiffs’ prior arguments and
 15
 16 starts failing and when we need to start replacing it.” (emphasis added)).
    137
        Id. 6639:24–25 (“MR HAVIAN: . . . But at a minimum, at a minimum, we
 17
    should get the 2016 price of that pipe back.”).
 18 138
        Id. 6616:22–6617:3 (“MR. HAVIAN: . . . It is undisputed that J-M pipe is
 19 inferior to standards-compliant pipe; that’s really important. You heard a lot of
    testimony from experts brought in here by J-M, and if you sort of listen to the higher
 20
    level, sort of sounds like, Wow, it sounds like they’re saying the pipe is okay, but of
 21 course we know that’s not true because of the first jury’s finding.”); id. 6615:25–
    6616:4 (“MR. HAVIAN: . . . If you hear an argument or you see some evidence and
 22
    you start to think, Well, maybe they didn’t get bad pipe on that project, maybe there
 23 was no fraud in connection with that project, think again. The jury said there was,
    the first jury.”).
 24
    139
        Dkt. 2414 at 14 (“As Plaintiffs point out, the fact the Phase One jury did not
 25 render findings with respect to the physical properties of the pipe actually received
 26 by [Plaintiffs] means that the second jury may do so without disturbing the Phase
    One findings.” (emphasis added)).
 27
    140
        Dkt. 2494 at 11.
 28

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  1 representations to the Court and Phase 1 jury.
  2        The predictable result of Plaintiffs’ ever-shifting theories and evidence was a
  3 hopelessly confused jury that understandably could not figure out how the Phase 1
  4 verdict related to Plaintiffs’ Phase 2 damages proofs, or how Plaintiffs’ Phase 2
  5 damages proofs related to their claim for damages or the questions the jury was
  6 asked to decide. The Court should put an end to Plaintiffs’ improper marathon quest
  7 to create a viable case and should enter judgment in J-M’s favor as a matter of law.
  8 VI.    CONCLUSION
  9        For the foregoing reasons, the Court should enter judgment in J-M’s favor as
 10 a matter of law.
 11 DATED: December 12, 2018             PAUL, WEISS, RIFKIND, WHARTON
                                         & GARRISON LLP
 12
 13                                      By:          /s/ David Bernick
                                                            David Bernick
 14
 15 DATED: December 12, 2018             BIRD, MARELLA, BOXER, WOLPERT,
 16                                      NESSIM, DROOKS, LINCENBERG &
                                         RHOW, P.C.
 17
 18                                      By:             /s/ Paul S. Chan
                                                               Paul S. Chan
 19
 20                                                 Attorneys for Defendant
                                                    J-M Manufacturing Company, Inc.
 21
                                                    dba JM Eagle
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                    J-M’S RENEWED MOTION FOR JUDGMENT AS A MATTER OF LAW
